Case 5:09-cv-03303-JF   Document 12-2   Filed 08/28/09   Page 1 of 82




         EXHIBIT 7
     Case 5:09-cv-03303-JF          Document 12-2   Filed 08/28/09   Page 2 of 82


 I   DUANE M. GECK CState Bar No. 114823)
     DONALD H. CRAM (State Bar No. 164001)
 2   DAVIDE. PINCH (State Bar No. 124851)
     SEVERS ON & WERSON
 3   A Professional Corporation
     One Embarcadero Center. Suite 2600
 4   San Francisco, CA 94111
     Telephone: (415) 398-3344
 5   Facsimile: (415) 956-0439
 6   Attorneys for Plaintiff                                          4'   Cj           2003
     RESERVOIR CAPITAL                                                          'V
 7   CORPORATION
 8
                                  UNITED STATES DISTR]CT COURT
 9
                             NORTHERN DISTRICT OF CALIFORNIA
10
                                     SAN FRANCISCO DIVISION
11
     RESERVOIR CAPITAL                               No. FJO2-002 MJJ (JCS)
12   CORPORATION, A Maryland
     Corporation,                                    00-C V-3626
13
                     Plaintiff,                      RESERVOIR CAPITAL
14                                                   CORPORATION's REQUEST TO
            vs.                                      TAKE JUDICIAL NOTICE IN
15                                                   SUPPORT OF MOTION FOR
      OUR STAR FINANCIAL SERVICES                    ORDER TO AMEND JUDGMENT
     LLC. a California Limited Liability             TO INCLUDE ALTER EGOS
     Company,
17                                                   Hearing
                     Defendant.
18                                                   Date: September 19, 2003
                                                     Time: 9:30 a.m.
19                                                   Judge: The Hon. Joseph Spero
20                   Reservoir Capital Corporation moves this Court to take judicial notice
21   of the attached exhibits. The exhibits are records that have been previously filed
22   with this Court and as such the court is entitled to take judicial notice of records
23   and Orders pursuant to Federal Rules of Evidence 20 1(a).
24
                  Exhibit "A" - "Stipulation and Order for Settlement of Suit" originally
25
            filed in the United States District Court for the District of Maryland in Case
26
            No. CCB-000-CV-3626 on July 16, 2001;
27

4-

        1073/0001/425089.2                             REQUEST TO TAKE JUDICIAL NOTICE IN SUPPORT
                                                        OF MOTION TO AMEND JUDGMENT TO INCLUDE
                                                                                      ALTER EGOS

                                      L1f1;    a'
     Case 5:09-cv-03303-JF       Document 12-2    Filed 08/28/09   Page 3 of 82



 i               Exhibit "B" - "Consent Order for Money Judgment Against Four Star
 2          Financial Services, LLC" entered in the United States District Court for the
 3          District of Maryland in Case No. CCB-000-CV-3626 on October 11, 2001;
 4               Exhibit "C" - "Certification of Judgment for Registration in Another
 5          District" entered by this court on January 11, 2002; and,
 6               Exhibit "D" - "Stipulation Modifying Judgments and Order Thereon"
 7          entered by this Court on July 20, 2002.
 B               Exhibit "E" - On-line Yellow Pages for telephone number and address
 9          for Four Star Financial Services, LLC.
10               Exhibit "F" - On-line Yellow Pages for telephone number and address
11          for Anson Garret & Company.
12               Exhibit "G" - Certified copy of the Four Star Financial Services, LLC
13          Limited Liability Statement filed with the Secretary of State for the State of
14          California.
15               Exhibit "H" -     Certified copy of the FSF, LLC Limited Liability
16          Articles of Organization filed with the Secretary of State for the State of
17          California.
18               Exhibit "1" -     Certified copy of the Community Benefit Alliance, LLC
19           Limited Liability Statement of Information filed with the Secretary of State
20           for the State of California.
21               Exhibit "J" - Declaration of Jack Garrett executed on April 1,2003
22               Exhibit "K" -      Declaration of Dana L. Pierson executed on April 18,
23           2003
24               Exhibit "L" - Declaration of Dana L. Pierson executed on April 23,
25           2003.
26

27
        11073/000114250892                  -2-       REQUESTTO TAKE JuDICIAL NOTICE [N SUPPORT
                                                       OF MOTION TO AMEND JUDGMENT TO INCLUDE
                                                                                    ALTER EGOS
     Case 5:09-cv-03303-JF         Document 12-2     Filed 08/28/09     Page 4 of 82



                 Exhibit "M" -        Defendant Four Star Financial Services, LLC's
 2          Response to Plaintiffs Statement in Support of Order to Show Cause;
 3          Motion for Civil Sanctions.
 4              Exhibit "N" -       Order Charging Judgment Debtor's Interest in Limited
 5          Liability Companies and For Order For Sale of Its Interest in Those Limited
 6          Liability Companies entered April 22, 2003.
 7

 8

 9    DATE:           (       o3                SEVERSON & WERSON
                                                A Professional C. i.oration
10

11                                              By
                                                      lavi.   .   'mc
12                                              Attorneys for Plaintiff
                                                RESERVOIR CAPITAL CORPORATION
13

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        1 lO73/OOU1J425O892                   - 3-       REQUEST TO TAKE JUDICIAL NOTICE IN SUPPORT
                                                          OF MOTION TO AMEND JUDGMENT TO INCLUDE
                                                                                        ALTER EGOS
Case 5:09-cv-03303-JF   Document 12-2   Filed 08/28/09   Page 5 of 82
 Case 5:09-cv-03303-JF          Document 12-2          Filed 08/28/09    Page 6 of 82




                              UNITED STATES DISTRICT COURT
                             FOR flE DITRICT.
                                            A
                                              OF MARYLAND
                                        cRaitirnore Division)

 RESERVOIR CAPiTAL                             *
 CORPORATION,                                  .


                                         -         -
                                                        Civil No. CCB-000-CV-3626
          Plaintiff,
                                               *
 V.                                                                 RECEIVED N m
                                               *                                               0.FiCE OF
                                                                     C,TH:i               ç.
 FOUR STAR FINANCIAL
 SERVICES, L.L.C.,                             *                                 -,
                                                                                  I
                                                                                      c
                                                                                      ci   I..ftj

          Defendant.                                               LJITED STAiFS DISTRICT JU[E

                 *      *       *                                           *         *             *




                 STIPULATION AND ORDER FOR SETTLEMENT OF SUIT

                 Reservoir Capital Corporation, the Plaintiff ('Reservoir"), and Four Star

Financial Services, L.L.C., the Defendant in this case (".Four Star"), by their respective

imderagned attorneys, hereby stipulate and agree as follows:

                                         Background

                        On December 12, 2000, Reservoir filed a Complaint for Money

Damages against Four Star claiming a principal amount of $1,545,878.82, together with

interest, costs, and expenses. including attorneys' fees, arising out of an alleged breach of

contract, breach of fiduciary duty, and conversion under an October 16, 1997 Participation

Agreement (the "Agreement") between Reservoir and Four Star.

                        On February 8. 2001, the Court entered an Order of' Default for Four

Scar's failure to timely file an answer or defense.




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Case 5:09-cv-03303-JF          Document 12-2          Filed 08/28/09    Page 7 of 82



                       On June 13, 2001, the Court vacated the Order of Default and issued a

 Scheduling Order for the case.

                   .   After negotiaions, Reservoir and Four Star have agreed to settle this

 case in accordance with the terms and conditions of the Settlement Agreement1 a copy of which

 is attached hereto as Exhibit A, pursuaat to which this Stipulation and Order has been tiled.

                                            Stipulation

                        Accordingly, Reservoir and Four Star hereby stipulate and agree as

follows:

                           Four Star hereby agrees that on or before September 12, 2001, at

4:00 p.m. (the "Payment Deadline"), Four Star shall pay and deliver to Reservoir, by wire

transfer to the account designated by Reservoir, the sum of One Million Two Hundred Fifty

Thousand Dollars ($1,250,000.00) (the "Settlement Payment"). In the event that the full

Settlement Payment is made by Four Star, by wire transfer, and received by Reservoir prior to

the Payment Deadline, then within three (3) business days after Reservoir's receipt of the

Settlement Payment, Reservoir shall file with the Court a Stipulation dismissing the Case with

    judice. Time is of the essence, and if Four Star fails to make the full Settlement Payment

by wire transfer to Reservoir by the Payment Deadline, Reservoir shall have no obligation to

accept the Settlement Payment in full satisfaction of the Claim.

                            In the event that Reservoir does not receive the full amount of the

Settlement Payment by wire transfer by the Payment Deadline, Reservoir shall be entitled to

the immediate entry of a money judgment against Four Star in the amount of $1,843,889.56,

which Reservoir may obtain by filing with the Court as early as September 13, 2001 a Consent

Order for Money Judgment, in the form of the Consent Order attached hereto as Exhibit B.


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      Case 5:09-cv-03303-JF      Document 12-2        Filed 08/28/09      Page 8 of 82
                                                                Th
Upon the flhin of thee Consent Order for Money Judgment. Four Star shall not take any action

to oppose entry of the Consent Order for Money Judgment or to seek to vacate such judgment.

Four Star's sole defense to the entry of the Consent Order fr Money Judgment shall be proof

that the full payment by wire transfer to Reservoirs of the full amount of the Settlement

Payment was made prior to the Settlemeru Deadline.

                   SO ORDERED, on this i7 day of                      , 2001.




                                                     Judge
STIPULATED AND AGREED:




 9/2   e. N. PrLtzke             Ol-4'
  .nd.iph C. Baker, Bar             cl f
Margolis, Pritzker & Bps em, P.A.
405 B. Joppa Road
Suite 100
Towson, Maryland 212G
(410) 823-2222

Attorneys for Defendant, Four Star Financial Services, L.L.0

Four Star Financial Services, L.L.C,


By:
             aWe   -r           ?
         Title:     j




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  Case 5:09-cv-03303-JF        Document 12-2         Filed 08/28/09   Page 9 of 82




 Irving E. W. er            0o017
 Gary _____iowitz, ar No. 24717
Saulr           1,?
100 Sou Charles
Baltimore, MD 21202
(410) 332-8672
(410) 332-8937

Attorneys for Plaintiff, Reservoir Capita) Corporation.




6MalI.1 7/IJt
                                               -4-
   Case 5:09-cv-03303-JF         Document 12-2          Filed 08/28/09   Page 10 of 82




                                SETrLEMENT AGREEMENT

              TIlTS SETTLEMENT AGREEMENT (this 'Agreement ') is made this
 R -f4., day of July, 2001 by and between RESERVOIR CAPITAL CORPORATION, a
 Maryland corporation (Reservoir't) and FOUR STAR FINANCIAL SERVICES, L.L.C., a
 California limited liability company ("Four Star").

                                             Recitals

               R.1    On October 1.6, 1997, Reservoir entered into a Participation Agreement
(the 'Agreement') with 900 Capital Services, Inc. ("900 Capital"), the predecessor in interest
to Four Star, under which Reservoir agreed to purchase from 900 Capital an undivided one
hundred percent (100%), full risk, non-recourse participation interest in a Factoring
Agreement (the "Factoring Agreement") between 900 Capital and Network Telephone
Services, Inc. (NTS"). Under the terms of the Factoring Agreement, 900 Capital agreed to
purchase from NTS, in order to provide NTS with working capital, certain accounts
receivable, book debts, notes, drafts, and acceptances (collectively "the Accounts") which
arose out of NTS' sale of goods or rendering of services. Reservoir, pursuant to the
Agreement, agreed to participate along with 900 Capita' in the purchase of the NTS Accounts
up to a total maximum funding level of three million dollars ($3,000,000.00). 900 Capital
subsequently became Four Star.

                R.2 The collection of the NTS Accounts was to be performed by a third party
collection firm, with the proceeds from the collections being paid to Four Star for the benefit
of itself and Reservoir Four Star was then obligated to remit to Reservoir. within three (3)
business days after receipt of the payments made on the Accounts, Reservoir's proportionate
share of all net collections.

                R.3     Reservoir has alleged that Four Star failed to make the agreed upon
payments, and that Four Star owes Reservoir the principal sum of $1,585,878.82, together
with interest, costs, and expenses including attorneys' fees (the "Claim").

               R.4 Reservoir filed an action in the United States District Court for the
District of Maryland. Baltimore Division (the "Court"), styled Reservoir Capital Corporation
'v. Four Star Financial Services, L.L.C., Case No.: CCB-000-CV-3626 (the "Case') seeking to
enforce the Claim. Four Star has denied Reservoir's Claim in that proceeding.

              R.5     After negotiations. Reservoir and Four Star desire to settle the Case.

                                          Agreement

              NOW THEREFORE, in consideration of the mutual covenants set forth below,
Reservoir and Four Star intending legally to be bound, hereby agree as follows:



    7, L1
      Case 5:09-cv-03303-JF        Document 12-2        Filed 08/28/09     Page 11 of 82

                                                                                                  2


                          Four Star's A,greement to Make Settlement Payment. Four Star hereby
  agrees that on or before September 12, 2001, at 4:00 p.m. (the 'Payment Deadline"), Pour
  Star shall pay and deliver to Reservoir, by wire transfer to the account designated by
  Reservoir, the sum of One Million Two Hundred Fifty Thousand Dollars ($1,250,000.00) (the
   "Settlement Payment"). rn the event that the full Settlement Payment is made by Four Star and
  received by Reservoir prior to the Payment Deadline, then within three (3) business days after
  Reservoir's receipt of the Settlement Payment, Reservoir shall file with the Court a Stipulation
  dismissing the Case with prejudice, in the form of the Stipulation attached hereto as Schedule
  1. Time is of the essence in this Agreement, and if Four Star fails to make, by wire transfer,
  the full Settlement Payment to Reservoir by the Payment Deadline, Re5ervoir shall have no
  obligation to accept the Settlement Payment in full satisfaction of the Claim.

                        Reservoir's Right to Entry of Money Judgment. In the event that
  Reservoir does not receive, by wire transfer, the full amount of the Settlement Payment by the
  Payment Deadline, Reservoir shall be entitled to the immediate entry of a money judgment in
  the amount of $1,843,889.56 against Four Star, which Reservoir may obtain by filing with the
  Court as early as September 13, 2001 a Consent Order for Money Judgment in the form of the
 Consent Order attached herero as Schedule 2. Upon the filing of the Consent Order for Money
 Judgment, Four Scar shall not take any action to oppose entry of the Consent Order for Money
 Judgment or to seek to vacate such judgment. Four Scar's sole defense to the entry of the
 Consent Order for Money Judgment shall be proof that the full payment, in available funds, of
 the full amount of the Claim, was made by wire transfer prior to the Payment Deadline.

                       Execution of Agreement and Related Documents.

                 (a)    Contemporaneously with the execution of this Agreement, Reservoir and
Four Star each shall sign and deliver to the other (a) a Stipulation and Consent Order for
Settlement of Suit, in the form of the attached Schedule 3; (b) a Consent Order for Money
Judgment in the fori of the attached Schedule 2; and (c) Stipulation dismissing the Case in the
form of the attached Schedule 1. The Stipulation dismissing the case shall be delivered to Four
Star's attorney, Jeffrey N. Pritzker, in escrow and shall be held by Mr. Pritzker and shall not
be filed with the Court, unless, and until after, the Settlement Payment is delivered to
Reservoir before the Payment Deadline. The Consent Order for Money Judgment shall be
delivered to Reservoir's attorney, Irving E. Walker, in escrow and shall be held by Mr.
Walker and shall not be filed with the Court, unless Reservoir does not receive the full
Settlement Payment by wire transfer prior to the Payment Deadline.




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   Case 5:09-cv-03303-JF          Document 12-2        Filed 08/28/09       Page 12 of 82
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                 (b)    Reservøj- and Four Star eacth agree that their respective attorneys shall
 not be disqualified from continuing to represent Reservoir and Four Star, respectively, in the
 Case or any other matter, as a result of the attorney's agreement to hold the Stipulation for
 dismissal and Consent Order for Money Judgment in escrow pursuant to the tern's and
 conditions of this Agreement.

                 4.     Other Provisions.

                                        Each of the parties has participated in the drafting and
 negotiation of this Release. For all purposes, this Release shall be deemed to have been
 drafted jointly by the parties hereto.

                                     This Agreement may be executed in counterparts, each of
 which shall be deemed to be an original.

                                      This Agreement shall be governed and construed in
 accordance with the laws of the State of Maryland.

                                      The individuals who sign this Agreement on behalf of
Reservoir and Four Star, respectively, have been duly authorized to sign this Agreement and to
bind his respective company to the terms and conditions of this Agreement.


                 IN WITNESS WHEREOF, thIs Agreement is hereby executed under seal this
              day of July, 2001.


WITNESS:                                       RESERVOIR CAPITAL CORPORATION


                                                                                                    (seal)


                                               FO      STAR F1NANCLL SERVICES, L.L.C.


                                               By.                                                  (seal)




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   Case 5:09-cv-03303-JF       Document 12-2         Filed 08/28/09     Page 13 of 82
                                                                                              4



 STATE OF CALIFORNIA                            )
                                                ) to wit:
 COUNTY OP                                      )



                I HEREBY CERTiFY that on the           / Z- day of JuJy, 2001, befor
the subscriber, a Notary X>ublic of the State of California, personally appeared Mar(F. Cohn,
who acknowledged himself tc be a Member of Four Star Financial Services, L.L.C., a
California limited liability company, and that he, as a Member of Four Star Financial Services,
L.L.C.. being authorid to do so, executed this Settlement Agreement for the purposes
contained in the document, by signing the nanie of the limited UabiliLy company by himself as
a Member.

                               HEREOF. I set my hand and official seal.




[NOTARY SEAL]


                                         P4z                     d     _ A72   Jt1"
                                     Printed Name of Notary Public


                                     My Commission Expires:          7//,1'
STATE OF MARYLAND                               )
                                                ) to wit:
Baltimore OF Maryland                )


             I HEREBY CERTIFY that on the                   /a
                                                           day of
2001, before me, the subscriber, a Notary Publiçofte State of alar, pefsonally
appear*N-SPE1N- who acknowledged hise1f to be the                     of RESROIR /qCA.1 D?Sh1     ,4-

CAPITAL CORPORATION, a Maryland corporation, and thaihe, as the CO of
RESERVOIR CAPITAL CORPORATION, being authorized to do so, executed iis fothe.
purposes contained in the document, by signing the name of the corporation by hitnself as
    0.

               IN WITNESS WHEREOF, I set my hand and official seal.




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  Case 5:09-cv-03303-JF   Document 12-2     Filed 08/28/09      Page 14 of 82

                                                                                5



[NOTARY SEAL]



                            Printed Name of Notary Pubtic


                            My Commission Expires;          ti/i /&3




                                      5
Case 5:09-cv-03303-JF   Document 12-2   Filed 08/28/09   Page 15 of 82
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                                                        FL
                                                          J.S. W5TRcT counr
                                                LNT1.TCT rF
                              UNITED STATES O1[RICT COURT
                              FOR THE DIST ICTK iRN) 53
                                         (Baltimore Division)
                                                                  u.
                                                *          AT 8ALTUIQr
RESERVOIR CAPITAL
CORPORAflON,                                          I                DEPUT
                                                          CIVIL No. CCB-000-CV-3626
           PItintiff
                                                *
V.
                                                t
FOUR STAR FINANCIAL
SERVICES, L.LC.,                                *


          DeIecdanz.
                                 *       .p     *                        4              *    *




                   CONSENT ORDER FOR MONEY JUDGMENT AGAINST
                       FOUR STAR FINANCIAL SERVICES! LL.C.

                  In accordance with the Stipulation and Order for Settlement Df Suit between

Reservoir Capital Corporat1on, P'aintiff, and Four Star Financial Services, L.L.C.) Defendant

judgment is Zmereby entered against Four Star Financial Services, L.L.C. in the amount of

$L866,995.57.




                 Entered:            _L. 2001
                                                          Yudge

([SIGNATURES CONTINUED]




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Case 5:09-cv-03303-JF   Document 12-2   Filed 08/28/09   Page 17 of 82




                             EXHtBIT C
              Case 5:09-cv-03303-JF                  Document 12-2               Filed 08/28/09              Page 18 of 82
       AO 45t (Revi2IC?3) ,Ceiiictnn                                                                                   ,


                                        UNITED STATES DISTRICT CouRT
                                                                     DISTRICT OF                 MARYLAND (ltixoore)
Reservoir Capital Corporation
                                                                                         CERTIFI CATI                                GMENT:
                Plaintiff
                                                                                         FOR REGISTRATITh
                                 V.                                                      ANOTHER DISTRICT

Four      Star Financial Services'L.L.C.                                                                FJfl2
                                                                                                           'i
                                                                                         Case Number: OO-CV-3626
                Def      ant

  I.             Felicia C. Cannon                                                    Clerk of the United States district court certify that the

  attached judgment is a true and correct copy of the original judgment entered in this action on October 1, 2001                                  5S it
                                                                                                                                     Date

  appears in the records of this court, and that

  *No notice of             'p eal from this 1ud'ent has been filed, and no motion of any kind listed
   in Rule 4(a) of the Federal Rules of Appellate Procedure has been filed.




              IN TESTJMONY WHTEREOF, I sign my name and affix the seal of this Court.




                      December 21, 2001                                                          FELICIA C. CANNON
                                        Date                                             Clerk




                                                                                  /      (By) Deputy Clerk




  'insert the appropriate language: ..."no notice of appeal from this judgment has been filed, and no motion of any kind listed in Rule 4(a) of the Federal
  Rules of Appellate Procedure has been filed." ...no notice of appeal from this judgment has been filed, and any motions of the kinds listed in Rule 4(a)
  of the Federal Rules of Appellate Procedure (t) have been disposed of, the latest order disposirg of such a motion having been entered on (date]." ..."an
  appeal was taken from thisjudgment and the judgment was affirmed by mandate of the Court of Appeals issued on [date]. ..."an appeal was taken from
  this judgment and the appeal was dismissed by order entered on [date]"

  (tNote: Thc motions listed iPe 4(a, Fed. P.. App.. P., ore tiotins: for jugmnt novithstanding the verdict; to anend or make additional findings
  of fact: to alter or amend the iudgment: for anev trial:and for an extcnion of time for filing a notice ofal.)                 .          .
           Case 5:09-cv-03303-JF                       Document 12-2       Filed 08/28/09            Page 19 of 82
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                                         UNITED STATES DISTRICT Co
                                                                  DISTRiCT OF
                                                                                                              '   44
Reservoir Capital Corporation
               Plaint 1ff                                                            CERTXFICAT1OPX QMENJj
                                                                                     POR  G1STRATIJ
                                V.                                                   ANOTRER DISTRICT

Four      Star Financial Services, L.L.C.                                                          1J0'2 002
                                                                                     Case Nwnbr: OOCV-3626
               Defendant

  I,            Feljcja C. Cannon                                                Clerk of the United States district court certify that the

     attached judgment is a true and correct copy of t1e original judgment entered in this action O 0tober                         oo        as it

     app ears in the records of this court, and that

     *10 flotice of apea1 from this judgment has been filed, and no motion of any kind listed
     in RuLe 4(a) of the Federal E.iles of.Appellate Procedure has been filed.




             TN TESTiMONY WBEitEO, 1 sign my name and affix the seal of this Court.




                    December 21, 2001                                                        EEtIICXA C       CANNOZ
                                       Xate                                          Clerk




 'Inseit the appropriatc          ..' notice of                 hit b           b fikd, J                     kInd listed in Rule 4(a) of the FedrJ
 Rules otAppdlate Procedure has been filed." ...no notioc of appeal from thisJudgmnent has been filed) and LY motions the kinds         in Ruk 4(a)
 of the Federal Riales of Appellal Proeediare (fl have been disposed of; the latest orderisposing of sueh sden haviiig been entered on [date)." .an
 aPPeal V.15 I3kert fioui tZilsjndgmcn and the judgmenz was affirmed by mndLe of the Court of Appcels isreed on date). ..."an appeal was tilCen rem
 this judgment and the appeal was dismissed by order cntred on [date]."

 (tlote The motion lit        nku c4(a     edLAp',                oisorJginnt per thst anding the !L                 4or ntek    ddiii?fl3
 of fsct to alter or amend thcjtdgyncnt for i'nè t,ial;atid for       eiIidriófti6ifr filing a noire. of appeal.).................- -   .


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                Case 5:09-cv-03303-JF
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                                                      Document 12-2               Filed 08/28/09                 Page 20 of 82


                                         UNITED STATES DISTCT Co.T
                                                                      DISTRICT OF                 MkRYLAND (1tiiore)
                                                                                                                     -   _'iJ't/.
Reservoir Capital Corporation
                 Plaintiff                                                                CERTIF1CAT1JWJ CITENT
                                                                                          FOR EGISTRATK?
                                 V.                                                       ANOTEER DTSTRICT

Four      Star Financial Services, L.L.C.
                                                                                                             r
                                                                                          Case Number: OOCV--3626
                                                                                                                                    uu
                 Defendant


  I,              Felicia C. Cannon                                                   Clerk of the United States district court certify that the

  attached judgment is a true and correct copy of the original judgment entered in this action on 0ctabr- i                                2001   ,as it
                                                                                                                                    Date

  appears in the records of this court, and that

  *No notice of a''eal from this jud sent has been filed, and no iotion of any kind listed
   in Rule 4(a) of the Federal. Rules of Appellate Procedure has been filed.




               fl TESTIMONY WHEREOF,! sign my name and affix the seal of this Court.




                           December 21, 2001                                                      FEtICIA C          CANNON
                                        Date                                              Clerk




                                                                                  /       (p') Daputy Clerk




  *Insert the appropriate language: ...'no notice of appeal from this judgment has been filed, and no motion of any kind listed in Rule 4(a) of the Federal
  Rules of Appellate Procedure has been filed." ..."no notke of appeal from thisjudgment has been filed, and any motions of the kInds listed in Rule4(a)
  of the Federal Rules of Appdllatë Procedure (f) have been disposed of, the latest order disposing of su a motion having been entered on [date)." ...an
  appeal was taken from thisjudgment and thejudgment was affirmed by mandate of the Courtof Appeals issued art Idate) "an appeal was taken from
  thisjudgment and the appeal was dismissed by order entecd on [date]."

  (tNote: The motions listed in RuLe 4(a, Fed. R. App. P., are moLins: frrjudgtnat
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                                                                                                         .           V...
                                                                                                                          or make ddional findings
  (f1c.t: t niterorrpnd the Idgmen: fora ----V
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I    DUANE M. GECK (CSB No. 114823)
     DONALD H. CRAM, ifi (CSB No. 160004)                       '.
2    SEVERSON & WERSON
     A Professional Corporation
                                                                     1


                                                                           :. FILED
                                                                            ZL     '!
3    One Embarcadero Center, Suite 2600
     San Francisco, CA 94111                                                            JUL 25 2002
4    Telephone: (415) 398-3344
     Facsimile: (415) 677-5664                                                    RICHARD W. WEKNG
                                                                                CWRK. U.S. DrSTRICT Couch
5                                                                            I4ORTHERN DlSTRCT OF CALIFORNIA
     Attorneys for Plaintiff and Judgment Creditor
6    RESERVOIR CAPITAL CORPORATION

7                                      UNITED STATES DISTRICT COURT

 8                                    NORTHERN DISTRICT OF CALIFORNIA

 9                                          SAN FRANCISCO DIVISION

10    RESERVOIR CAPiTAL CORPORATION,                      )    Case No. FJ 02-0002 (MJJ) (ICS)
                                                          )
11                       Plaintiff,                       )
                                                          )
12       vs.                                              )    STIPULATION MODIFYiNG
                                                          )    JUDGMENTS AND ORDER THEREON
13    FOUR STAR FINANCIAL SERVICES, LLC.,)
      a California Limited Liability Company, )                Date:       no hearing pending
14                                                        )    Time:
                      Defendant.                          )    Dept:       Courtroom of Judge Jenkins
                                                                           19th floor, Courtroom 11
15                                                        )
                                                          )                450 Golden Gate Avenue
16                                                        )                San Francisco, CA
                                                          )
17                                                        )
                                                          )
18

19

20                                                   RECITALS

21                       On July 17, 2001, a Stipulation and Order for Settlement of Suit ("Stipulation")

22    was signed by the United States District Court for the District of Maryland, Baltimore Division, in

23    Civil Case No. CCB-000-CV-3 626 entitled Reservoir Capital Corporation v. Four Star Financial

24    Services, LLC. The Stipulation incorporates as an exhibit the Settlement Agreement made July

25    16, 2001 by Four Star Financial Services, LLC ("Four Star't), through its Executive Vice

26    President, Mark F. Cohn, and Reservoir Capital Corporation ("Reservoir").

27                       Afler Four Star failed to perform the terms of the Stipulation and the Settlement
28    Agreement, a Consent Order for Money Judgment was entered against Four Star in the Maryland
         I 1073/0001/379531.1                                  STIPULATION MODIFYING JUDGMENTS
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 1    District Court on October 1, 2001, in the amount of $1,866,995.57 ("Maryland Judgment").
 2             3.        Four Star did not appeal the Judgment or take any action in the Maryland District
       Court to contest or challenge the Judgment.
               4.        On January 11, 2002, Reservoir registered the Maryland Judgment with United
 4
      States District Court for the Northern District of California, San Francisco Division, which was
 5
       assigned Case No. FJO2-0002 ("California Judgment").
               5.        Following extensive negotiations, on June 24, 2002, Reservoir and Four Star
       entered into a Settlement Agreement in an attempt to resolve all controversies relating to Four
 8     Star's obligations to Reservoir under the Maryland Judgment and the California Judgment
 9     (collectively, the "Judgments').

10             6.        Under the terms of the Settlement Agreement, if Four Star defaults under the
       Settlement Agreement, Reservoir shall be entitled to declare, as due and payable, the entire unpaid
      balance of the Judgments, plus interest at the Tate of fifteen percent (15%) per annum from June
12
      24, 2002, on the unpaid balance of the Judgments, and all attorneys' fees and out-of-pocket
13
       expenses incurred by Reservoir in enforcing the Judgments following the event of default.
14
               7.        Reservoir and Four Star wish to amend the Judgments to incorporate the portion of
15
      the Settlement Agreemerit allowing Reservoir to recover from Four Star the agreed interest and all
16    attorneyst fees and out-of-pocket expenses if Four Star defaults under the Settlement Agreement.
17

18                                                 STIPULATION

19             iT IS HEREBY STIPULATED BY AND BETWEEN RESERVOIR CAPITAL

20    CORPORATION ("Reservoir"), by and through its attorney of record Duane M. Geck of the law

21    firm of Severson & Werson PC, and FOUR STAR FINANCIAL SERVICES, LLC ("Four Star"),

22    by and through its attorney of record Miles Archer Woodlief, as follows:

23             1.       The Judgments are hereby modi fled so that interest at the rate of fifteen percent

24    (15%) per annum from June 24, 2002, shall accrue on the unpaid balance of the Judgments until
      the Judgments are paid in full.
25
               2.        The Judgments are further modified to permit the recovery by Reservoir against
26
      Four Star of all attorneys' fees and out-of-pocket expenses incurred by Reservoir in enforcing the
27
      Judgments in the event of default under the Settlement Agreement.
28
          107310001/379531.1                        -2-        STIPULATION MOIMFY1]4G JUDGMENTS
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 1             3.           With these additional provisions, the Judgments, as hereby amended, shall
 2    continue in full force and effect.
                                                         SEVERSON & WERSON, P.C.
 3

 4

      Dated:        \j Jj     .   /I   , 2002            By:
                                                               D(ane   .Geck
 6                                                             onald H. Cram
                                                         Attorneys for Plaintiff
 7                                                       RESERVOIR CAPITAL CORPORATION
 8


               \L

10
      Dated: -)i"\ L.                  , 2002
                                                        Miles Archer Woodlief
                                                        Attorney for Defendant
11
                                                        FOUR STAR FINANCiAL SERVICES, LLC.
                                                          (Facsimile Signature Deemed Original)
12

13

14
                                                         ORDER
15

16
      PURSUANT TO STIPULATION, IT IS ORDERED THAT THE CALIFORNIA JuDGMENT IS
      HEREBY MODIFIED TO INCORPORATE THE ABOVE STIPULATION:
17

18
      Dated:         /I.o              .2002
19                                                           Hon.Mart J.Je
                                                             United Sta -s District udge
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        I IO73fOOO!/37953.i                            -3-       STIPUlATION MODIFYING JUDGMENTS
     Case 5:09-cv-03303-JF       Document 12-2          Filed 08/28/09   Page 25 of 82



                                SETTLEMENT AGREEMENT

                 THIS SEY1'LEMENT AGREEMENT (this "Agreement") is made this
 2S4 day of June, 2002 by and between RESERVOIR CAPiTAL CORPORATION, a
Maryland corporation with its principal place of business in Baltimore, Maryland
("Reservoir"), and 1?OUR STAR FINANCIAL SERVICES, L.L.C., a California limited
liability company with its principal place of business in San Mateo, California ("Four Star").

                                             Recitals

              R. 1    On October 16, 1997, Reservoir entered into a Participation Agreement
with 900 Capital Services, Inc. (" 900 Capital"), the predecessor in interest to Four Star, under
which Reservoir agreed to purchase from 900 Capital a nonrecourse participation interest in a
Factoring Agreement (the "Factoring Agreement") between 900 Capital and Network
Telephone Services, Inc. ("NTS"). Under the terms of the Factoring Agreement, 900 Capital
agreed to purchase from NTS, m order to provide NTS with working capital, certain accounts
receivable and other debts, which arose out of NTS's sale of goods or rendering of services
("the Accounts"). Reservoir, pursuant to the Participation Agreement, agreed to participate
along with 900 Capital in the purchase of the NTS Accounts up to a total maximum funding
level of $3,000,000.00. 900 Capital subsequently became Four Star.

                R.2     The collection of the NTS Accounts was to be performed by a third party
collection firm, with the proceeds from the collections being paid to Four Star for the benefit
of itself and Reservoir. Four Star was then obligated to remit to Reservoir, within three
business days after receipt of the payments made on the Accounts, Reservoir's proportionate
share of all net collections. Reservoir alleged that Four Star failed to make the agreed upon
payments from the payments Four Star received from the Accounts. Four. Star did not dispute
that the payments due to Reservoir were not made or that Four Star'         '?r&ial activities led
to Reservoir's losses, but did dispute the amount of the losses suffered by Reservoir.

                 R.3  Reservoir filed an action in the United States Distiict Court for the
District of Maryland, Baltimore Division (the "Maryland Court"), styled Reservoir Capital
Corporation v. Four Star Financial Services. L.L.C., Case No.: CCB-000-CV-3626 seeking to
enforce its claims against Four Star.

               R.4 After negotiations between the parties through their respective counsel, a
Stipulation and Order for Settlement of Suit (the "Stipulation") was entered in the Maryland
Court. Reservoir did not receive payment from Four Star pursuant to the terms of the
Stipulation. On October 1, 2001, in accordance with the Stipulation, a Consent Order for
Money Judgment was entered in the Maryland Court against Four Star in the amount of
$1,866,995.57 (the "Maryland Judgment"). Four Star did not challenge the Maryland
Judgment in the Maryland Court.

                 R. 5 On January 11, 2002, Reservoir recorded the Maryland Judgment in the
United States District Court for the Northern District of California (the "California Court"),

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styled Reservoir Capital Corporation v. Four Star Financial Services, L.L.C., Case No.: FJ
02-002 (the "California Judgment"). Thereafter, Reservor commenced various proceedings to
enforce the California Judgment.

                R.6 On or about April 15, 2002, Four Star filed a Motion to Set Aside
Judgment Pursuant to F.R.C.P. 60(b) ("Motion") in the California Court seeking to set aside
the California Judgment. Thereafter, on June 6, 2002, Four Star filed an parte application
seeking to stay enforcement of the California Judgment. The California Court denied Four
Star's ex parte application by Order entered June 13, 2002.

              R.7 On or about June 2, 2002, Reservoir levied upon Four Star's bank
accounts at Comerica Bank, which resulted in the garnishment of sums believed to total in the
range of $75,000 to $80,000 (the "Garnished Funds").

              R.8     After extensive negotiations, Reservoir and Four Star desire to enter into
this Agreement to resolve finally all controversies relating to Four Star's obligations to
Reservoir under the Maryland Judgment and the California Judgment (collectively, the
"Judgments") in accordance with the terms of this Agreement.

                                           Agreement

               NOW THEREFORE, in consideration of the mutual covenants set forth below,
Reservoir and Four Star, intending legally to be bound subject to the terms and conditions
herein, hereby agree as follows:

                     Recitals. The parties agree that the foregoing Recitals, which are
incorporated herein by reference, are true and correct.

                      Settlement Amount. Reservoir agrees that in the event Four Star makes
each and every payment as and when due under this Agreement, without any Event of Default
(as defined below), Reservoir will accept the sum of One Million Six Hundred Thousand
Dollars ($1,600,000) (the "Settlement Amount") in full satisfaction of the Judgments. The
Garnished Funds shall not be counted toward the payment of the Settlement Amount., but will
be applied toward the payment of the Judgments.

                      Four Star's Areemeut to Make the lE'irst Settlement Installment
Payment. Four Star hereby agrees that on or before July 1, 2002, at 4:00 p.m. prevailing
Eastern Daylight Time (the "First Payment Deadline"), Four Star shall pay and deliver to
Reservoir, by wire transfer to the account designated by Reservoir in the attached Exhibit A,
or such other account as may be designated from time to time by Reservoir in writing, the sum
of Three Hundred Thousand Dollars ($300,000.00) (the "First Settlement Payment") towards
payment of the Settlement Amount. In the event that the full First Settlement Payment is made
by Four Star and received by Reservoir prior to the First Payment Deadline, then Reservoir
will refrain from malang any further attempts to execute on the Judgments, or to pursue further
discovery in aid of execution of the Judgments, unless and until there is an Event of Default (as

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defined below). Time is of the essence with respect to payment of the First Settlement
Payment and all other payments to be made under this Agreement. If Four Star fails to make,
by wire transfer, the full First Settlement Payment to Reservoir by the First Payment Deadline,
Reservoir shall have the right to immediately execute on the Judgments, and except for
Paragraph 10(e) below, this Agreement shall immediately be null and void as if the parties had
never entered into it. Paragraph 10(e) shall remain in full force and effect even if this
Agreement otherwise is nullified.

                      Four Star's Ajrreement to Make the Remainina Settlement Payments.
Four Star hereby agrees to pay the balance of the Settlement Amount to Reservoir, by wire
transfer to the account designated by Reservoir, with no grace or cure period, on or before
4:00 p.m. on or before the date each payment is due, according to the following payment
schedule:

                       Date Due                   Amount of Payment

                       July 20, 2002              $100,000
                       August 20, 2002            $200,000
                       September 20, 2002         $200,000
                       October 20, 2002           $200,000
                       November 20, 2002          $200,000
                       December 20, 2002          $200,000
                       January 20, 2003           $200,000.

If all of these payments are made as and when due, so that Reservoir timely receives the sum
of $1,600,000 in addition to the Garnished Funds, then within five (5) business days after
Reservoir's receipt of the full Settlement Amount, Reservoir shall file with the Maryland Court
and the California Court an Order of Satisfaction, in a form acceptable to Reservoir and Four
Star, confirming that the Judgments have been "PAiD AND SATISFIED".

                       Reservoir's Rights in the Event of Default by Four Star.

                        a. In the event that Reservoir does not receive, by wire transfer, the full
amount of any of the settlement payments, by the scheduled payment deadlines in this
Agreement, or Four Star breaches any of its other obligations under this Agreement (an Event
of Default"), Reservoir shall be entitled to declare as due and payable, in its sole and absolute
discretion and without any prior notice, grace period, or cure period, the entire unpaid balance
of the Judgments, plus interest at the rate of fifteen percent (15%) per annum from the date of
this Agreement on the unpaid balance of the Judgments, and all attorneys' fees and out-of-
pocket expenses incurred by Reservoir in enforcing the Judgments and this Agreement
following such Event of Default. Four Star's sole defense to Reservoir's rights in the event of
default by Four Star shall be proof that the respective settlement payment, in available funds,
of the full amount due, was made by wire transfer prior to the payment deadline. Four Star
reserves the right to challenge the reasonableness of the fees and costs requested by Reservoir
in enforcing this Agreement of the Judgments.

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                           Consistent with the provisions of Paragraph 5(a) above, the
Judgments each shall be amended to provide for interest and attorneys' fees and costs, by filing
with the Maryland Court and the California Court an Amended Consent Order for Money
Judgment, in a form reasonably acceptable to Reservoir and Four Star (the "Amended Consent
Orders"), bearing the signatures of counsel f& Reservoir and Four Star. Four Star shall sign
and deliver to Reservoir an original of each of the Amended Consent Orders within five (5)
business days after Four Star receives the Amended Consent Orders from Reservoir, and the
failure of Four Star to timely deliver the Amended Consent Orders to Reservoir shall be an
Event of Default.

                         In an Event of Default, Reservoir shall provide written notice of the
Event of Default to Four Star by first-class mail, postage prepaid and by facsimile, to the
foUowirig:

                      Mark F. Cohn, Executive Vice President and General Counsel
                      Four Star Financial Services, LLC
                      1000 Marina Blvd., 6th Floor
                      Brisbane, CA 94005
                      Facsimile: (650) 869-3700; with a copy to

                      Miles Archer Woodlief, Esquire
                      775 East Blithedale Avenue, #514
                      Mill Valley, CA 94911
                      Facsimile: (415) 449-3569.

This obligation to provide notice shall not affect or delay the timing or existence of an Event of
Default.

                      Withdrawal of Motion. Four Star hereby agrees that the Motion,
which currently is scheduled for hearing on July 9, 2002, shall be withdrawn with prejudice
and Four Star will execute and deliver to Reservoir a stipulated order denying the Motion,
which shall be filed with the California Court.

                      Effective Date. Except for Paragraph 10(e) below, which shall be
effective immediately and irrevocably, this Agreement will not be effective until the First
Settlement Payment is received by Reservoir, and until then, all of the enforcement and
discovery proceedings instituted by Reservoir in California and now pending will continue;
provided, however, that Reservoir agrees it will not issue any new attachments or garnishments
between the date Reservoir receives an executed original of tills Agreement bearing Four Star's
signature and July 1, 2002. If Four Star timely makes the First Settlement Payment, then (a)
all enforcement and discovery proceedings will be stayed unless there occurs an Event of
Default, in which case all enforcement and discovery proceedings may be immediately
resumed by Reservoir; and (b) any documents produced and delivered to Reservoir pursuant to
Judge Spero's Order dated June 17, 2002 shall be delivered to Four Star's attorney, Miles A.

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Woodlief ("Woodlief), who shall hold the documents and return them promptly upon
Reservoir's request to Reservoir in an Event of Default. Upon entry of an Order of
Satisfaction under this Agreement, Woodlief may return those documents to Four Star which
may do with them as Four Star pleases, unfettered by the terms or provisions of this
Agreement.

                       Garnished Funds. Four Star hereby agrees to cooperate with
Reservoir, and to sign and return to Reservoir any papers reasonably requested by Reservoir,
to expedite the payment of the Garnished Funds to Reservoir. The Garnished Funds are in
addition to the Settlement Amount and shall not reduce any of the amounts due to be paid to
Reservoir under Paragraphs 2, 3 and 4 of this Agreement.

                      Conditional Release. in the event that the Settlement Amount is fully
and timely paid ("Full Payment"), and not until then, Reservoir and Four Star do hereby
release and discharge the other and their respective successors and assigns, attorneys,
members, officers, and directors, from any and all actions, causes of action, suits, debts,
contracts, damages, claims and costs whatsoever, at law or in equity, whether known or
unknown, which either party ever had or now has. Reservoir and Four Star expressly,
knowingly and intentionally waive all rights and protections of the provisions of California
Civil Code Section 1542, which provides:

                A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
                CREDITOR DOES NOT KNOW OR SUSPECT TO EXiST IN HIS FAVOR
                AT THE TIME OF EXECUTION OF THE RELEASE, WHICH IF KNOWN
                BY HIM MUST HAVE MATERIALLY AFFECTED HIS S13T1'LEMENT
                WITH THE DEBTOR.

This Paragraph 9 shall have no effect unless and until Reservoir receives Full Payment.

                      Other Provisions.

                                     Each of the parties has participated in the drafting and
negotiation of this Agreement, with full opportunity to confer with their respective counsel.
For all purposes, this Agreement shall be deemed to have been drafted jointly by the parties
hereto.

                                      This Agreement may be executed in counterparts, each of
which shall be deemed to be an original. A copy of this Agreement shall be deemed to be
valid and binding as if it were an original.

                                     This Agreement shall be governed and construed in
accordance with the laws of the State of California.




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                                     The individuals who sign this Agreement on behalf of
Reservoir and Four Star, respectively, have been duly authorized to sign this Agreement and to
bind his respective company to the terms and conditions of this Agreement.

                                       Four Star hereby agrees that the Judgments each are valid,
binding and enforceable, and no provision in this Agreement shall be construed to constitute a
penalty for any Event of Default. In an Event of Default, Four Star shall not move to vacate
or otherwise contest the validity or enforceability of the Judgments or this Agreement on any
grounds in any forum, and hereby expressly waives any right Four Star may have to do so.

                                     This Agreement constitutes the entire Agreement between
Reservoir and Four Star with respect to the subject matter of the Agreement and this
Agreement may not be modified in any way except in writing signed by both parties.

                iN WITNESS WHEREOF, this Agreement has been executed under seal.


WITNESS:                                     RESERV IR CAPITAL CORPORATION


                                                                                                    (seal)
                                                            ern,E
                                             FOUR STAR FINANCIAL SERVICES, L.L.C.


                                             By:                                                    (seal)
                                                   Name:
                                                   Title:




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                                     The individuals who sign this Agreement on behalf of
Reservoir and Four Star, respectively, have been duly authorized to sign this Agreement and to
bind his respective company to the terms and conditions of this Agreement.

                                       Four Star hereby agrees that the Judgments each are valid,
binding and enforceable, and no provision in this Agreement shall be construed to constitute a
penalty for any Event of Default. In an Event of Default, Four Star shall not move to vacate
or otherwise contest the validity or enforceability of the Judgments or this Agreement on any
grounds in any forum, and hereby expressly waives any right Four Star may have to do so.

                                    This Agreement constitutes the entire Agreement between
Reservoir and Four Star with respect to the subject matter of the Agreement and this
Agreement may not be modified in any way except in writing signed by both parties.

               IN WITNESS WHEREOF, this Agreement has been executed under seal.


WITNESS:                                     RESERVOIR CAPITAL CORPORATION


                                             By:                                                    (seal)
                                                   Ivan Stern, CEO

                                             FOUR STAR FIN *         CLAL SERVICES, L.L.C.


                                                                                                    (seal)
                                                        e:
                                                   Ti




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STATE OF CALIFORNIA                            )
                                               ) to wit:
COUNTY OF           Los                        )


               I HEREBY CERTIFY that on the                     day of June, 2002, before me,
the subscriber, a Notary Public of the State of California, personally appeared Mare-F.
who acknowledged himself to be a Member of Four Star Financial Services, L.L. C., a
California limited liability company, and that he, as a Member and officer of Four Star
Financial Services, L.L.C., being authorized to do so, executed this Settlement Agreement for
the purposes contained in the document, by signing the name of the limited liability company
as a Member and officer.

                IN WITNESS WHEREOF, I set my hand and official seal.




[NOTARY SEAL]

     PATR1CIA M. VICTO
       Commission S 1 309.
    Notary Public - California
                                    Pdrica M Vi'cfDrlrl
      Los Angele5 County            Printed Name of Notary Public
   MyConTTl. E,ir.Jun 17,2005


                                    My Commission Expires: 3itule        7) ?oo5
STATE OF MARYLAND                              )
                                               ) to wit:
County of Baltimore                            )


              I HEREBY CERTIFY that on the                     day of
2002, before me, the subscriber, a Notary Public of the State of Maryland, personally
appeared IVAN STERN, who acknowledged himself to be the CEO of RESERVOIR
CAPITAL CORPORATION, a Maryland corporation, and that he, as the CEO of
RESERVOIR CAPITAL CORPORATION, being authorized to do so, executed this for the
purposes contained in the document, by signing the name of the corporation by himself as
CEO.
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STATE OF CALIIORNIA                             )
                                                ) to wit:
COUNTY OF                                       )


               I HEREBY CERTIFY that on the                     day of june, 2002, before me,
the subscriber, a Notary Public of the State of California, personally appeared Marc F. Cohn,
who acknowledged himself to be a Member of Four Star Financial Services, L.L.C., a
California limited liability company, and that he, as a Member and officer of Four Star
Financial Services, L.L.C., being authorized to do so, executed this Settlement Agreement for
the purposes contained in the document, by signing the name of the limited liability company
as a Member and officer.

                   IN WITNESS WHEREOF, I set my hand and official seal.




[NOTARY SEAL]                         Notary Public



                                       Printed Name of Notary Public


                                       My Commission Expires:

STATE OF MARYLAND                                   )
                                                 )towit:
County of Baltimore                              )


              I HEREBY CERTIFY that on the                    day of
2002, before me, the subscriber, a Notary Public of the State of MarylaKd, personally
appeared IVAN STERN, who acknowledged himself to be the CEO of RESERVOIR
CAPITAL CORPORATION, a Maryland corporation, and that he, as the CEO of
RESERVOIR CAPITAL CORPORATiON, being authorized to do so, executed this for the
purposes contained in the document, by signing the name of the corporation by himself as
CEO.




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           IN WITNESS WHEREOF, I set my hand and official seal.



[NOTARY SEAL]                 Notary Public


                                         iA',2ThY M'.                 LE/C
                              Printed Name of Notary Public


                              My Commission Expires:              /
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                                         CERTIFICATE OF SERVICE

 2           1, the undersigned, declare that I am over the age of 18 and am not a party to this action. I
      am employed in the City and County of San Francisco, California; my business address is
 3    Severson & Werson, One Embarcadero Center, Suite 2500, San Francisco, CA 94111.

 4            On the date below I served a copy, with all exhibits, of the following document(s):
         STIPULATION MODIFYING JUDGMENTS AND ORDER THEREON

 6    on all interested parties in said case addressed as follows:

 7    Miles Archer Woodlief, Esq.                 FAX: (415) 449-3569
      775 E. Blithedale Avenue
 8    #514
      Mill Valley CA 94941
 9
      Phone: (4115) 730-3032
10

ii
      [XX] (BY MAIL) I caused an envelope to be deposited in the mail at San Francisco, California,
12    with postage thereon fully prepaid.
13
              1 am readily familiar with the firm's practice of collecting and processing correspondence
14    for mailing. On the same day that correspondence is placed for collection and mailing, it is
      deposited in the ordinary course of business with the United States Postal Service in San
15    Francisco, California in. sealed envelopes with postage filly prepaid.
16
      [1 (BY FEDERAL EXPRESS
17
             By depositing copies of the above documents in a box or other facility regularly
18    maintained by Federal Express with delivery fees paid or provided for; or
19
      [II (BY FAX) By use of facshnile machine telephone number 415/956-0439, 1 caused a true copy
20    to be transmitted to the addressee(s) listed above at the facsimile number(s) noted after the party's
      address.
21
             The facsimile machine I used complied with California Rules of Court, rule 2003 and no
22    error was reported by the machine.
23           I declare under penalty of perjury under the laws of the United States of America that the
      foregoing is true and correct. This declaration is executed in San Francisco, California, on August
      1,2002.
25
                                                                     f'1.
                                                     Marge      Cloherty
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                                 Listings                                   Multiple Categories (1 - 1 of 1)
                            Four Star Financial Services LLC
                            11755 Wilsh ire Boulevard, Los Angeles, CA 90025
                            (310)477-5252
                            rna    riving directions add to Mv Directory


 I Category (Browse)        Appears in the Categories:
                                  Accountants Certified Public CPA
                                  Factors
 or Business Name
                                    to Top
  Four Star Financi
   City                                           ZILPIC        çpyght 02003 Acxiorn.

  Los Angeles
 and State (required)
  California


       rIND Ii

 Map-Based Search
 Search by Distance
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Case 5:09-cv-03303-JF   Document 12-2   Filed 08/28/09   Page 38 of 82
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                               Anson Garrett & CO
                               11755 Wilshire Boulevard, Los Angeles, CA 90025
                               (310) 477-5252
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 1    Category (Browse)        Appears in the Categories:
                                     Accountants Certified Public CPA
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 3.       FIND IT

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Case 5:09-cv-03303-JF   Document 12-2   Filed 08/28/09   Page 40 of 82
            Case 5:09-cv-03303-JF   Document 12-2   Filed 08/28/09    Page 41 of 82




                                                                                      41




                                 SECRETARY OF STATE

                   I, Kevin Shelley, Secretary of State of the State of
           California, hereby certify:
                   That the attached transcript of                   page(s) was
           prepared by and in this office from the record on file, of
           which it purports to be a copy, and that it is full, true
           ihd correct.
                                          IN WITNESS WHEREOF, 1 execute this
                                             certificate and affix the Great Seal of
                                             the State of California this day of

                                                      APR 1 8 2003




                                                Secretary of State




Sc.(ata Form CE-1OJ (c   1103)
                   Case 5:09-cv-03303-JF                 Document 12-2            Filed 08/28/09                 Page 42 of 82


                                           State of C,a1iorna
                                                  Bill Jones
                                              Secretary.of State                                  ,..        .




        LIMITED LtAILlTY COMPANY - STATEMENT OF INFORMATION RENEWAL                                                               ii
                                                                                                                  In   e OMee of
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                                                                                                                                e Ste of CaUfa
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  1.     DO NOT ALTER PREPRINTED NAME IF ITEM I IS BLANK. PLEASE EWER UMITED UAB1UTY COMPANY NAME.
                                                                                                                            FEB 152000
          FOUR STAR FINANCIAL SERVICES. LLC
          11755 WILSHIRE BLVD., STE. 1350
          LOS ANGELES CA 90025
                                                                                                                                     /
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                                                                                                                 BtJOs, Lecretafy of State

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  2.     SECRETARY OF STATE FILE NUMBER                                    3.   JURISDICTION OF FORMATION

                              199610310006                                      CA
  4.     STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                              CRY AND STATE                                          ZIP CODE



  5.     STREET ADDRESS IN CALIFORNIA OF OFFICE WHERE RECORDS ARE MAINTAINED (FOR DOMESTIC ONLY)         OIlY                             ZIP CODE

                                                                                                                            CA
 6,     CHECK THE APPROPRIATE PROVISION BELOW AND NAME THE AGENT FOR SERVICE OF PROCESS:
            3 'AN INDIVIDUAL RESIDING IN CALIFORNIA.
                                                                                                 CORPORATiONS CODE
            3 A COMPOPAT'ON WHICH HAS FILED A CERTIFICATE PURSUANT TO SECTION 1505 OF ThE CALIFORNIA
        AGENVS NAME



 7.     ADDRESS OF THE AGENT FOR SERVICE OF PROCESS iN CALIFORNIA, IF AU INOMDUAt.                                                        ZIP CODE

                                                                                                                            CA
 8...   DESCRI8E TYPE OF BUSINESS OF THE UMTEI) UABIUTY COMPANY.



  ',UThENAMEAND COMPLE1
:PROVIDEThL NAME AND ADDRESS OF
                                         bRESró           MROR'RS,'ôRIF
  DESIGNA11Or&ATrACH ADOfl1ONA1AGES W NECESSA                                                           -t
 9,     NAME                                                                                                           (    MANAGER

        ADDRESS                                                                                                        t I MEMBER

        CRY                                                        STATE                   ZIP                              CEO, IF ANY

 10.    NAME                                                                                                               3MANAGER

        ADDRESS                                                                                                        j    MEMBER

        CIVv'                                                      STATE                    ZIP                            ICEO IFANY
 11.    NUMBER OF PAGES TrACHEO. IF ANY.


 12.


                   Iii
        1 DECLARE THAT   I.


        SIGNATURE OF '' ID
                              T TEMENT IS TRUE, CORRECT. AND COMPLETE.



                                I AUTHORIZED TO SiGN                                                    DATE



                         J                   v
        1YPE OR PRINT NAME AND TITLE OF PERSON SIGNING

        DUE DATE:
                         04/12/2000
SEO5TATE-FORM U.C-2R (REV T 1t9                                                                                  APPROVED BY SECRETARY CF STATE
                  Case 5:09-cv-03303-JF                   Document 12-2                Filed 08/28/09         Page 43 of 82

                                                    State of California
                                                               B1!
                                                                I
                                                                   Jnc1Q
                                                      Secretary of State
          MITE         IABI             OMPANY:iTEMEN!NFORMAT1N
                           Filing Fee $20.00 If Amendment, Seelnstructions                                                  O1ISlaOtCIflfomIfl
      IMPORTANT- Read Instructions Bfore Completing This Form                                                                MAR 0 .6 2002
 1.       LIMITED UAB1LTTY COMPANY NAME (Do not alter if name is pepzinted)



            FOI.IR STAR FINANCIAL SERVICES, LLC                                                                      airi
            11755 WILSHIRE BLVD.. STE. 1350                                                                                           '--'4...
            LOS ANGELES CA 90025




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      -
                                                                                                                   This S ace For FiIinQjse
                                                                                                IN ThEUTSTMENTORflONR1EH
 2.       SECRETARY OF STATE F1LE NUMBER                                          3.   STATE OR PLACE OF ORGANIZATiON

                                                 199610310006                                                   CA
 4.       PRINCIPAL EXECUT1VE OFFICE
          STREETADDRESS        11755 Wilshire Blvd., Suite 1350
          CITY                Los Angeles                                               STATE    CA     ZJP CODE     90025
 5.       CALIFORNIA OFFICE WHERE RECORDS ARE MAINTAINED (FOR DOMESTIC ONLY)
          STR.ETAODRESS        1000 Marina Blvd., Suite 600
                              Brisbane                                                  STATE   CA      ZIP CODE    94005
6.        CHECK THE APPROPRIATE PROVISiON BELOW AND NAME THE AGENT FOR SERVICE OF PROCESS
      [          AN INDiVIDUAL RESIDING IN CALiFORNIA.'
            )    A CORPORATION WHICH HAS FILED A CERTIFICAIE PURSUANT TO CALIFORNIA CORPORATiONS CODE SECTION 1505
      AGENTS NAME:                 Jack Garrett
7.    ADDRESS OF THE AGENT FOR SERVICE OF PROCESS IN CALIFORNIA. iF AN INDIVIDUAL
      ADDRESS                 11755 Wilshire Blvd., Suite 1350
      CITY                    Los Angeles                                               STATE CA        ZIP CODE    90025
8.    DESCRiBE TYPE OF BUSINESS OF THE UMITED LIABILITY COMPANY.
      Commercial Finance Lender
9.    LIST THE NAME AND COMPLETE ADDRESS OF ANY MANAGER OR MANAGERS, OR iF NONE HAVE BEEN APPOINTED OR ELECTED,
      PROVIDE THE NAME AND ADDRESS OF EACH MEMBER. ATTACH ADDITIONAL PAGES, IF NECESSARY,
 .- NAME-              JackGarritt
      ADDRESS
      CITY
                       11755 Wilshire Blvd., Suite 1350                                 STATE           ZIP CODE
b
                       Los Angi1c
      ADDRESS
                       Ronald Artson
      crry             11755 Wilshire Blvd., Suite 1350                                 STATE           ZIPCODE
C.    NAME             Lm Angels-                                                               -.
      ADDRESS          Mark Cohn
                 1000 Marina Blvd., Suite 1350, BrisbanesTATE CA                                        z,coo        94005
10.
      cn-t
      CHiEF EXECUTIVE OFFiCER (CEO), IF ANY:
      NAME             Jack Garrett                                                                                          :
                                                                                                                                     -- :,  -

      ADDRESS          11755 Wilshire Blvd., Suite 1350                                                                              :':...
      CITY
                      J.os Angeles                                                      STATE CA         ZIPCCDE     90025
11.   NUMBER OF PAGES ATTACHED, IF ANY:                none                                                                      ,               --    '
                                                                              4                                                        )_             ..'.
 2.   THIS STATEMENT IS IRIJE. CORRECT, AND COMPLETE.


                 rk Cohn
      TYPE OR PRINT NAME Ol PERSON COMPlETING FORM
                                                                                                      Exec
                                                                                                      Tfl1E
                                                                                                               Vice President
                                                                                                                          DATE
                                                                    SIGNATURE

DUE DATE:
SECISTATE FORM                                                                                                  APPROVED BY SECRE A.v OF STATE
Case 5:09-cv-03303-JF   Document 12-2   Filed 08/28/09   Page 44 of 82




                            EXHIBIT H
  Case 5:09-cv-03303-JF   Document 12-2   Filed 08/28/09   Page 45 of 82




                     SECRETARY OF STATE

   I, Kevin Shelley, Secretary of State of the State of
California, hereby certify:
   That the attached transcript of                  1      page(s) was
prepared by and in this office from the record on file, of
which it purports to be a copy, and that it is full, true
and correct.
                               IN WiTNESS WHEREOP I execute this
                                  certificate and affix the Great Seal of
                                  the State of California this day of
                                              MJIR 2 7 2003




                                     Secretary of State
                     Case 5:09-cv-03303-JF                  Document 12-2         Filed 08/28/09           Page 46 of 82

                                               State of California                                       FiIe1L
                                                        Bill Jones
                                                    Secretary of State
                                                                                                                   Fli r
                                     LIMITED LIABILITY COMPANY                                                   FEB 1 32001
                                     ARTICLES OF ORGANIZATION
                      A $70.00 filing fee must accompany this form.
                 IMPORTANT - Read Instructions before completing this form.                                 BiUJON'
                                                                                                                          I
                                                                                                                                /      c(Stats


                                                                                                            This Space For Filing Use Only

I.     Name of the limited liability company (end the rine with the words umited Liability Compay," Ltd. Liability Co,, or the abbreviations UC or
       L,L.C.)
        FSFILLC
2.     The purpose of the lim!ted liability company is to engage in any lawful act or activity for which a limited liability company may be
       organized under the Beveily-Killea limited liability company act.
3.     Name the agent for service of process and check the appropriate provision below:
        CT Corporation System                                                                                                 Wi& is
              an individual residing in California. Proceed to item 4.
       [XI a corporation which has filed a certificate pursuant to section 1505. Proceed to item 5.
4,     if an individual, California address of the a9ent for service of process:
       Address:

       City                                         State: CA                                                   Zip Code:
5,     The Jimited liability company will be managed by: (chsck one)
     Jone manager [ I more than one manager F I single member limited liability company [X] all limited liability company members
6.     Other matters to be included in this certificate may be set forth on separate attached pages and are made a part of this certificate.
       Other matters may include the latest date on which the limited liability company is to dissolve.
7.     Number of pages attached, if any: None

8.     Type of business of the limited liability company. (For informational purposes only)
       Finance
9.     DECLARA11ON: It is hereby declared that I am the person who executed this instrument, which execution is my act and deed.



                             -*                                                   Dana L. Pierson
     'STgnature of Organizer                                                      Type or Print Name of Organizer



       February 9, 2001
       Date

10. RETURN TO:
       NAME                        [na L. Pierson
                                    FSF, LLC
                                    1000 Marina Boulevard, Suite 600
       ADI)RESS                     Brisbane, CA 94005
       CITY/STATE
       ZIP CODE


       SEC/STATE (REV 12199)
                                   L                                                                 I
                                                                                                      FORM LLC-1 -                                   I
                                                                                                      Approved by Secre
      - Ill 7(ZCIXI cr 5>Uni Unh
Case 5:09-cv-03303-JF   Document 12-2   Filed 08/28/09   Page 47 of 82
                  Case 5:09-cv-03303-JF   Document 12-2   Filed 08/28/09   Page 48 of 82




                                     SECRETARY OF STATE

                     I, Kevin Shelley, Secretary of State of the State of
            California, hereby certify:
                     That the attached transcript of cL page(s) was
            prepared by and in this office front the record on file, of
            which it purports to be a copy, and that it is full, true
            and correct.
                                               IN WITNESS WHEREOF, I execute this
                                                  certificate and affix the Great Seal of
                                                  the State of California this clay of
                                                              APR 1 6 2003




                                                     Secretary of State




ScfStaFe Form CE-iDa (rev 1.03'
                            Case 5:09-cv-03303-JF                 Document 12-2             Filed 08/28/09             Page 49 of 82
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 LIMiTED LIABILITY COMPANY STATEMENT OF INFORMATiON RENEWAL.
                          A 1O.00 FILING FEE MUST ACCOMPANY THIS FORM.                                                             FILED
           IMPORTANI           Read Instructions 8.fars Completing ThI* Farm.                                          hi the oh9ce of tho SecreteryofSate
                                                                                                                              of the State of C1ornja
  1.       UNITED UABIUTY COMPANY

               COMMUNITY BENEFIT ALLIANCE, LLC                                                                              JUL 2            1999
               601 GATEWAY BLVD #260
               SOUTH SAN FRANCISCO                 CA     94080

                                                                                                                         BILL JONES, S      tary of State




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  2.       SECRETARY OF STATE FILE NUMBER                                         a   JUR ISO PC11ON OF FORMATION

                                199729410042                                          CA
                 - IF ThERE HAS BEEN NO CHANGE IN ThE INFORMATION CONTAINED IN ThE LAST STATEMENT OF INFORMATION
                  ON FiLE Wmi THE CAUFORNIA SECRETARY OF STATE. CHECK THE BOX AND PROCEED TO ITEM 12.
          --      iF THERE HAVE BEEN jjJX CHANGES TO THE LAST STATEMENT OF 1NFORMA77ON ON PiLE WiTH THE
                  CALIFORNIA SECRETARY OF STAT& COMPLETE 17119 STATEMENT IN ITS ENflRETY (ITEMS 4-12)
  4.       STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                    CITY AND STATE                          ZIP CODE
      601 Gateway Boulevard, Suite 260,                               South San Francisco, CA                                     94080
  5,           TEET ADDRESS IN CALIFORNIA OF OFFICE WHERE RECORDS ARE MAINIA1NED (FOR DOMESTIC ONLY) CITY                           ZIP CODE
      601 Gateway Boulevard, Suite 260,                               South San Francisco                                          CA 94080
  6.       NAME OF THE AGENT FOR SERVICE OF PROCESS AND CHECK THE APPROPRIATE PROVISION BELOW:

               Dana L. Pierson                                                                                                         WHICH IS

      -
          - k I AN INDIViDUAL RESIDING IN CAUFORNIA. PROCEED TO ITEM 7.
                 A CORPORATION WHICH HAS FILED A CERTIFICATE PURSUANT TO SECTION 1505 OF ThE CAUFORNIA CORPORATIONS CODE. PROCEED 10 ITEM 9.

  7    ,TREJ ADDRE5 OF JHE AGEbIT FQI SERVICE PE PROCESS IN c?LIFOBNI4.                                         CITY                           ZIP
      bOi Lateway jouievar, suite oo,                         outn an Francisco,                                                   CA
  8.       DESCRIBE TYPE OF BUSINESS OF ThE LIMITED LIABILITY COMPANY.

 Owning and Marketing Cel Art
                 LIST ThE W,1E 1ID COMPLETE ACDRES Or A%Y MANAGEF OR MANAGCS, AND HIEP EXECUTIVE oFFICER, IF ANY, O
                 NONE HAVE BEEN APPOINTEE OR ELECTED, PROVIDE ThE NAME AND ADDRESS OF EACH MEMBER. . (CHECK ThE
                 APPROPRIATE DESIGNATION). ATTACH ADDITIONAL PAGES iF NECESSANY.
           NAME                                                                                                                 JAANAGER
  S.
                           Four Star Financial Services, LLC                                                                I




                                                                                                                            (ICHIEFEXECUTIVEOFFICER
               ADDRESS     601 Gateway Blvd., Suite 260
           CITY           South San Francisco                             STATE       CA            ZIP 94080              XI   IMEMBER
  10.      NAME           Ward Leber                                                                                        I IMANAGER

           ADDRESS         4669 Murpiy Canyon Road, Suite 104                                                               1   JCHIEFEXECUTIVEOFF10ER

           cm'             San Diego,                      STATE CA                                 zi      92124                MEMBER

  ii,                 OF PAGES ATTACHED. IF ANY.

  12.      1 DECLARE THAT THIS ST       EN 1ST     E. CORRECT. AND COMPLETE.


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                                  Case 5:09-cv-03303-JF           Document 12-2         Filed 08/28/09           Page 50 of 82
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                                                 State of CaUfornia                                     -
                                                         Bill Jones                                                       FiLED
                                                                                                                  CPA        .1O CAUF
                                                     Secretary of State

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       LIMITED LIABILITY COMPANY - STATEMENT OF INFORMATiON RENEWAL
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1.           DO NOT ALTER PREPRINTED NAME. iF ITEM I IS BLANK PLEASE ENTER LIMITED UABIUIYOONPANY NAME.                            STATE
                  COMMUNITY BENEFIT ALLIANCE, LLC
                  601 GATEWAY BLVD H260
                  SOUTH SAN FRANCISCO CA 94080




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                    IF ThERE HAS BEEN NO CHANGE IN ThE 1NFORMATION CONTAINED IN ThE LAST STATEMEN1 OF IN(ORMJTION
     '              ON FILE WITH ThE CALIFORNIA SECRETARY OF STATE, CHECK THE BOX AND PROCEED TO ITEM Ia.                                 '
2.       SECRETARY OF STATE FILE NUMBER                                        3.   JURISDICTiON OF FORMATION
                                                      199729410042                                               CA
4.       STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                  CITY AND STATE                                     ZIP CODE



5.       STREET ADDRESS IN CALIFORNiA OF OFFICE WHERE RECORDS ARE MAINTAINED (FOR DOMESTIC ONLY)          CITY                            ZIP CODE

                                                                                                                        CA
6.       CHECK THE APPROPRIATE PROVISION BELOW AND NAME THE AGENT FOR SERVICE OF PROCESS:
                  I AN INDIVIDUAL RESIDING IN CALIFORNIA.
                 I ) A CORPORATION WHICH HAS FILED A CERTIFICATE PURSUANT TO SECTION 1505 OF THE CAUFORNLA CORPORATIONS CODE.

       AGENTS NAME:



7.       ADDRESS OF THE AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL                      CITY                            ZIP CODE

                                                                                                                        çA
8,           DESCRIBE TYPE OF BUSINESS OF THE LIMITED LIABILITY COMPANY.



  LIST ThE NAME AND COMPLETE ADDRESS OF ANY MANAGER OR MANAGERS, OR IF NöNEHAV1BEEP(APPONTEDORELEC7ED7
  PROVIDE ThE NAME AND ADDRESS OF EACH MEMBER AND CHIEF EXECUTIVE OFFiCER (CEO), IF ANY. (CHECK ThE APPROPRIATE
 :DESIGNAT1ON). A1TACIIADDITIONALPAGESIFNECESSANY.              -        '

9.           NAME                                                                                                     [IMANAGER

             ADDRESS                                                                                                  I JMEMBER

             CITY                                                          STATE                ZIP                   I I CEO, IF ANY

10.          NAME                                                                                                     11 MANAGER

             ADDRESS                                                                                                  I )MEMBER

             CITY                                                          STATE                ZIP                   I I CEO, IF ANY

 11.         NUMBER OF PACES ATTACHED. IF ANY.


12.          I                                 ISThUEBRECT, AND COMPLETE.

                 DECLAR EYilJH1SIAT
                 SIGNATURE    I    VIDUAL AUTHORIZED TO SiGN                                             DATE



                 /7),4- ,- Oo,6J,
                 TYPE OR PRINT NAME AND TITLE OF PERSON SIGNING
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             DUE DATE:            10/21/2000
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Case 5:09-cv-03303-JF   Document 12-2   Filed 08/28/09   Page 51 of 82
     Case 5:09-cv-03303-JF         Document 12-2          Filed 08/28/09   Page 52 of 82



 1
       Miles Archer Woodlicf(No. 124467)
2      Attorney at Law
       775 East Blithedale Avenue, #514
       Mill Valley, CA 94941
       phone: (415) 730-3032
       facsimile: (415)449-3569
       Attorney for Defendant Four Star
       Financial Service, LLC
 6
                               UNITED STATES DISTRICT COURT FOR THE
                                 NORTHERN DISTRICT OF CALIFORNIA
                                        (San Francisco Division)
 B


 9
                                                      )         Case No.: FJO2-0002 (MJJ) (JCS)
10     RESERVOIR CAPITAL CORPORATION, )
                                                      )         DECLARATION OF DANA PIERSON
11                                                    )         REGARDING CORPORATE
                      Plaintiff,                      )         FORMATION DOCUMENTS PRODUCED
12                                                     )
                                                       )
13     FOUR STAR FINANCIAL SERVICES,                 )
       LLC, a California limited liability company, )
14
                                                       )
                      Defendant.                       )
15                                                    )
16

17            I, Dana Pierson, state as follows:
18

19             1.     I am Secretary for Defendant Four Star Financial Services, LLC, ("Four Star"). If

20     I were called on as a witness. I could and would testify to the following facts:
21             2.     To the best of my knowledge, Four Star and each wholly owned subsidiary or
22
       affiliate controlled by Four Star or sharing a common set of officers aridior managing members,
23
       have produced all documents within their possession or control relating to the "arbitrage deals"
24

25     and any sale relating to the same.

26             3.     To the best of my knowledge, Four Star and each wholly owned subsidiary or

27     affiliate controlled by Four Star or sharing a common set of officers and/or managing members,
28
       have produced all documents within their possession or control relating to the formation
     Case 5:09-cv-03303-JF        Document 12-2        Filed 08/28/09      Page 53 of 82

 1

 2    documents of Four Star and each such wholly owned subsidiary or affiliate.

 3           I declare under penalty of perjury under the laws of the State of California that the

      foregoing is true and correct to the best of my knowledge and belief. Executed at Redwood City,
 S
      California this I 8 day of April, 2003.
 6

 7

 8
                                                           By-
 9
                                                                   Dana Pierson

10



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     Case 5:09-cv-03303-JF        Document 12-2         Filed 08/28/09      Page 54 of 82

 1
                                        PROOF OF SERVICE
 2


 3
                     I, Dawn Bierrnan, certify and declare as follows:
 4                   I am over the age of 18 years, and not a party to this action. I maintain an
      office at 255 Shoreline Drive, Suite 100, Redwood City, CA, 94065, which is located in
 5    the county where the mailing described below took place.

 6                    I am readily familiar with the business practice at my place of business
      for collection and processing of correspondence for mailing with the United States
      Postal Service and delivery to Federal Express. Correspondence so collected and
      processed is deposited with the United States Postal Service or Federal Express that
 8    same day in the ordinary course of business.

 9
                      On April 18, 2003, at my place of business at Redwood City, California,
      a copy of the forgoing was sent via first class mail, postage fully prepaid, addressed to:
10
      Donald Cram
      SEVERSON & WERSON
11
      One Embarcadero Center, suite 2600
12
      San Francisco, CA 94111

13

14    and that envelope was placed for collection and delivery on that date following ordinary
      business practices.
15
                      I certify and declare under penalty of peijury under the laws of the State
16
      of California that the foregoing is true and correct. Executed on April 18, 2003.

17

18

19
                                            Dawn M. Biemian
20

21

22

23

24

25
Case 5:09-cv-03303-JF   Document 12-2   Filed 08/28/09   Page 55 of 82
Case 5:09-cv-03303-JF            Document 12-2      Filed 08/28/09      Page 56 of 82



 1

     Miles Archer Woodi i ef (No. 124467)
 2
     Attorney at Law
     775 East Blithedale Avenue, #514
     Mill Valley, CA 94941
     phone: (415) 730-3032
 4
     facsimile: (415) 449-3569
 5   Attorney for Defendant Four Star
     Financial Service, LLC
 6
                             UNITED STATES DISTRICT COURT FOR THE
 7                             NORTHERN DISTRICT OF CALWORNIA
                                      (San Francisco Division)
 8

 9
                                                     )       Case No.: FJO2-0002 (Mu) (JCS)
10   RESERVOIR CAPITAL CORPORATION, )
                                                     )       DECLARATION OF DANA PIERSON
11                                                           REGARDING CORPORATE
                                                     )
                    Plaintiff,                       )       FORMATION DOCUMENTS PRODUCED
12   V.

13   FOUR STAR FINANCIAL SERVICES,                )
     LLC, a California limited liability company, )
14                                                   )
                    Defendant.                       )
15
                                                     )
16
17           I, Dana Pierson, state as follows:
18

19                  I am Secretary for Defendant Four Star Financial Services, LLC, ("Four Star"). If

20   I were cat led on as a witness, I could and would testify to the following facts:
21
                    To the best of my knowledge, Four Star and each wholly owned subsidiary or
22
     affiliate controlled by Four Star or sharing a common set of officers andior managing members,
23
     have produced all documents within their possession or control relating to the "arbitrage deals"
24

25   and any sale relating to the same.

26           3.     To the best of my knowledge, Four Star and each wholly owned subsidiary or

27   affiliate controlled by Four Star or sharing a common set of officers andlor managing members,
28
     have produced alt documents within their possession or control relating to the formation
     Case 5:09-cv-03303-JF       Document 12-2        Filed 08/28/09      Page 57 of 82



      documents of Four Star and each such wholly owned subsidiary or affiliate.

             I declare under penalty of pcijuiy under the laws of the State of California that the

      foregoing is true and correct to the best of my knowledge and belief. Executed at Redwood City,


      California this 18t day of April, 2003.
 6

 7

 8
                                                           By-
                                                             - Dana Pierson
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 Case 5:09-cv-03303-JF         Document 12-2        Filed 08/28/09            Page 58 of 82

 I                                     PROOF OF SERVICE



 3
                    I, Dawn Bierman, certify and declare as follows:
 4                  I am over the age of 18 years, and not a party to this action. I maintain an
     office at 255 Shoreline Drive, Suite 100, Redwood City, CA. 94065, which is located in
 S   the county where the mailing described below took place.

 6                   I am readily familiar with the business practice at my place of business
     for collection and processing of correspondence for mailing with the United States
 7   Postal Service and delivery to Federal Express. Correspondence so collected and
     processed is deposited with the United States Postal Service or Federal Express that
 8   same day in the ordinary course of business.

 9
                     On April 18, 2003, at my place of business at Redwood City, California,
     a copy of the forgoing was sent via first class mail, postage fully prepaid, addressed to:
10
     Donald Cram
     SEVERSON & WERSON
11
     One Embarcadero Center, suite 2600
12   San Francisco, CA 94111

13

14   and that envelope was placed for collection and delivery on that date following ordinary
     business practices.
15
                     I certif' and declare under penalty of perjury under the laws of the State
16
     of California that the foregoing is true and correct. Executed on April 18, 2003.

17

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                                                               ;
                                                                   ://(2?./
19
                                            Dawn M. Biernian
20

21

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                         P.


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 1

      Miles Archer Wood1iefNo. 124467)
 2    Attorney at Law
      775 East Iithedale Avenue, #514
 3
      Mill Valley, CA 94941
      phone: (415) 730-3032
 4
      facsmu..(415) 449-3569
 5
      Attorney for Defendant Four Star
      Financial Service, LLC
 6

 7
                                   UNITED STATES DISTRICT COURT FOR THE
                                     NORTHERN DISTRICT OF CALIFORNIA
 8
                                            (San Francisco Division)

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28    Four Stafs Notice of Motion and Motion for        I
      Protective Order; Memo P&A in Support of
      Same; Declaration in Support of Same
      Case 5:09-cv-03303-JF               Document 12-2       Filed 08/28/09   Page 60 of 82


  1

  2                                                                Case No.: FJO2-0002 (Mu) (JCS)
  3
       RESERVOIR CAPITAL CORPORATION,                              SUPPLEMENTAL DECLAEATION OF
                                                                   DANAPIERSON REGARDING
  4
                                                                   CORPORATE FORMATION
                           Plaintifl                               DOCUMENTS PRODUCED
  5
       V.

  6
       FOUR STAR FINANCIAL SERVICES,
  7
       LLC, a California limited liability company,

  8
                          Defendant.

  9

10
                 I, Dana Pierson, state as follows:
11

12                        I am Secretary for Defendant Four Star Financial Services, LLC, ("Four Star"). If

13     I were called on as a witness, I could and would testiFy to the following facts:
14
                          To the best of my knowledge, Four Star and its parent(s), affiliate(s) and
15
       subsidiary(ies) have each produced all Corporate Organization documents within their possession
16
       or control.
17

18               I declare under penalty of perjury under the laws of the State of California that the

19     foregoing is true and correct to the best of my knowledge and belief. Executed at Redwood City,
20
       California this 23 day of April, 2003.
23.

22

23                                                                By: '      ___
                                                                  Dana'PiIon, Secretary
24

25
26
27

28     Four Star's Notice of Motion and Motion for        2
       Protective Order; Memo ?&A in Support of
       Same; Declaration in Support of Same
Case 5:09-cv-03303-JF   Document 12-2   Filed 08/28/09   Page 61 of 82
     Case 5:09-cv-03303-JF               Document 12-2       Filed 08/28/09   Page 62 of 82



 1
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 2
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 3
      Mill Valley, CA 94941
      phone: (415) 730-3032
 4
      1lcsimile: (415) 449-3569
 5
      Attorney for Defendant Four Star
      Fmancial Service, LLC
 6
                                   UNITED STATES DISTRICT COURT FOR THE
 7
                                     NORTHERN DISTRICT OF CALIFORNIA
                                            (San Francisco Division)
 8

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28    Fout Star's Notice olMotion and Motion far         1

      Protective Order; Mcm, P&A in Support of
      Same; Declaration in Support of Same
     Case 5:09-cv-03303-JF                Document 12-2       Filed 08/28/09   Page 63 of 82




                                                                  Case No.: FJO2-0002 (MJJ) (JCS)

      RESERVOIR CAPITAL CORPORATION,                              SUPPLEMENTAL DECLARATION OE
                                                                  DANAIPIERSON REGARDiNG
                                                                  CORPORATE FORMATION
                         Plaintiff                                DOCUMENTS PRODUCED

 6
      FOUR STAR FINANCIAL SERVICES,
 7
      LLC, a California limited liability company,

                         Defendant.
 8

 9

10
               1, Dana Pierson, state as follows:
11

12              1.       1 am Secretary for Defendant Four Star Financial Services, LLC, ("Four Star"). If

13    I were called on as a witness, I could and would testi1y to the following facts:
14
               2.        To the best of my knowledge, Four Star and its parent(s), affiliate(s) and
15
      subsidiary(ies) have each produced all Corporate Organization documents within their possession
16
      or control.
17

18             I declare under penalty of perjury under the laws of the State of California that the

19    foregoing is true and correct to the best of my knowledge and belief. Executed at Redwood City,
20
      California this 23n1 day of April, 2003.
21
22

23                                                               By: '                 (I     cITh
                                                                 Dana1'lon, Secretary
24

25

26
27

28    Four Star's Notice of Motion and Motion for         2
      Protective Order; Memo P&A in Support of
      Same; Declaration in Support of Same
Case 5:09-cv-03303-JF   Document 12-2   Filed 08/28/09   Page 64 of 82




                            EXHIBIT M
Case 5:09-cv-03303-JF   Document 12-2   Filed 08/28/09   Page 65 of 82
         Case 5:09-cv-03303-JF              Document 12-2        Filed 08/28/09   Page 66 of 82



     1
           Miles Archer Woodlief(No. 124467)
     2     Attorney at Law
           775 East Blithedale Avenue, #514                                               JUN10 20B3
     3
           Mill Valley CA 94941                                                          SEVERS     ERSON
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     5
           Attorney for Defendant Four Star
           Financial Service, LLC
     6

     7                                  UNITED STATES DISTRICT COURT FOR THE
                                          NORTHERN DISTRICT OF CALIFORNIA
     8
                                                 (San Francisco Division)

     9
                                                             )        Case No.: FJO2-0002 (MJJ) (JCS)
10                                                           )
           RESERVOIR CAPITAL CORPORATION, )                           DEFENDANT FOUR STAR FINANCIAL
11                                                           )        SERVICES, LLC'S RESPONSE TO
                                                             )        PLAINTIFF'S STATEMENT IN SUPPORT
                             Plaintiff,                      )        OF ORDER TO SHOW CAUSE; MOTION
12
                                                             )        FOR CIVIL SANCTIONS
           FOUR STAR FINANCIAL SERVICES,                              Hearing Date: 7-3 1-03
-
'4         LLC, a California limited liability company. )             Time:        9:30 a.m.
                                                             )        Department: Judge Spero (Ctrrn A)
                             Defendant.
'5                                                           )

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          Four Star's Response to Statemeju Supporting OSC
     Case 5:09-cv-03303-JF          Document 12-2            Filed 08/28/09   Page 67 of 82


 1


             Defendant Four Star Financial Services, LLC ("Four Star") submits this Response to
 3
     Plaintiff's Statement in Support of Order to Show Cause.
 4
     PRELIMINARY STATEMENT
 5

 6           Plaintiff has no predicate for its motion for civil contempt

 7           There is little doubt that Plaintiff Reservoir Capital Corporation ('Plaintiff') has been
 8
     (perhaps rightfully) aggressive in seeking information regarding the whereabouts of Four Star
 9
     Financtal Services' ("Four Star") assets. There is also little doubt that Plaintiff perceives that
10
     those efforts have not been entirely fruitful to date in that it continues to seek still more
11

12   information from or about Four Star. Finally, there is no doubt that Plaintiff finds Four Star's

13   statements regarding its lack of documents to be incredible. That, however, is the sum and

14   substance of Plaintiff's argument. Four Star should have these documents, so they must have
15
     these documents, so they are willing violating this Courts order by not producing them. Quite
16
     literally, in each instance, that is Plaintiff's argument.
17
             The problem however, is that Four Star does not have the documents sought, not do its

19   affiliates or subsidiaries. Whether the information sought still exists is not a question Four Star

20   cannot answer, but it can state, and has done so under oath, that the information does not exist

     within its possession or control or within the possession or control of its affiliates or subsidiaries.
22
     There is no basis for a contempt order here.
23
     STATEMENT OF FACTS
24

25           Four Star has produced or offered for review thousands and thousands of
             documents and has cuoperated extensively with Plaintiff regarding the production
26           of documents and dissemination of information
27           First, it must be understood that Four Star HAS produced boxes and boxes of documents
28
                                                         2
     Case 5:09-cv-03303-JF         Document 12-2         Filed 08/28/09       Page 68 of 82


 1


 2
      to Reservoir, and has done so almost continuously for several years. it has produced 100% of the

      documentation for literally hundreds of loans. It has produced boxes of corporate records

 4    pertaining to tens of companies and produced 100% of the records for virtually all of those
 5
      companies. it has produced check registers, general ledgers. trial balances, balance sheets and on
 6
      and on and on for several years of the companies recent past, including the most recent versions
 7
      of everything. It has produced appraisals, summaries, estimates, etc regarding the value of the
 8

 9    companies. Pour Star has searched, reviewed, amended, and supplemented its responses as

10    material became available or was located. It, voluntarily and of its own accord, produced extra
11
     persons at OEXs (for example, having Christina Wong attend with Rick Saperstein) to ensure
12
     ak'swe:s could be more coiete.
13
             This motion is about less than a hand full of documents that have not been produced.
14

15   Simply put, Plaintiff believes these documents should exist and, with no evidence that they do

16   exist, it pursues this motion as a result. Four Star has, time and time again, shown they do not.
17
             Only four (4) groups of documents remain in dispute
18
             Plaintiff seeks: (i) corporate records for three entities (Prior to reading Plaintiffs Brief,
19
     Four Star recalls only hearing that FSF and CBA's corporate records been produced, but that is of
20

21   no moment); (ii) loan documents for one remaining loan (the AnsonGarrett-Cohn loan); (iii)

22   documents relating to one remaining transaction (the so-called Arbitrage Deal); and (iv)

23   documents reflecting the chain of title to a group of cel art. Out of the thousands of documents
24
     produced and the volumes of testimony given, this is the remaining dispute.
25
             Plaintiff has no evidence these documents exist
26
             Plaintiff has no evidence that the documents are being withheld or that they even exist.
27

28
                                                         3
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 1


 2
     Plaintiff offers no theory as to where the documents might be. Plaintiff has only an understanding

 3   that these documents should exist.

 4           The Anson-Garrett-Cobn Loan
 5
             Four Star made a loan to its managers. Plaintiff argues that The Corporations Code,
 6
     § I 7058(a)(7), requires that records be kept. Plaintiff also argues that Four Star has a fiduciary
 7

     obligation to have the records. To not have the records violates the law, argues Plaintiff.
 8

 9   Therefore, Four Star, then, must have the records and they must be produced.

10           First, the cited code only requires that the LLC keep current books and records as they
11
     relate to the internal affairs of the company. Four Star does that. Second, Four Star has
12
     prodi&cd records petaini;1 t that transaction in that it has produced the General Ledger, whi&i
13
     evidences the transaction and all payments made in connection with it. It might be tidy if there
14

15   were more or better or different records, but the Declarations previously submitted make it clear

16   that no additional records regarding these transactions exist. Absolutely nothing suggests that
17
     they do.
18
            Plaintiff has, simply, guessed wrong. Plaintiff has offered nothing to even suggest there
19
     is a basis to even question the veracity of the Declarations submitted in which three persons state
20

21   no additional records exist. There being not a scintilla of evidence to the contrary, Plaintiffs

22   request for Civil Contempt must be denied.

23           Corporate Records
24
            Plaintiff arguers that Four Star and two of its subsidiaries have not produced sufficient
25
     corporate records as to three companies Four Star, FSF and CBA. Plaintiff admits that some
26

27
     have been produced for these entities and that for the substantial majority of companies, all

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                                                       4
     Case 5:09-cv-03303-JF            Document 12-2           Filed 08/28/09      Page 70 of 82


 1


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     required material was produced. Plaintiffs argument is. again, that Four Star should have more

 3   documents for these companies, so they must have them. Nothing more.

             Evidence produced to date demonstrates that, apart from whether Four Star should have

     the records, they do not. Dana Pierson's Declaration, poked fun at by Plaintiff's counsel,
 6
     contained the exact words referenced by the Court and the very phrases requested by Plaintiff and
 7
     about which Plaintiff complained were missing when the original declaration was filed. The

 9   Court and Plaintiff deemed acceptable at the time. To now complain of that language is either

10   hubris or sandbagging. The point of that declaration and the one it amended are quite clear:

     Four Star has no further corporate documents in its possession. Plaintiff has, simply, guessed
12
     w'ron. Plaintiff has offered nothing to even suggest there is a basis to even question the veracity
13
     of Ms. Pierson's Declaration. There being not a scintilla of evidence to the contrary, Plaintiff's
14
     request for Civil Contempt must be denied.

16           Arbitrage Contracts
17
             Again, Four Star has stated clearly and concisely that is has produced all information
18
     within its possession as well as that in the possession of its subsidiaries and affiliates and, again,
19
     Plaintiff without evidence or predicate facts --- is saying, "not so!" Four Star has represented
20
21   that it has searched its files, the files of all relevant subsidiaries or affiliates and the records of its

22   managing members and that it has uncovered nothing other than that already turned over to

23   Plaintiff. Four Star has handed over information about its business partner in this matter and has
24
     provided the name and address and relevant documents concerning that partner. Plaintiff is and
25
     has at all times been able to follow-up directly with that entity. In other words, Four Star has
26
27   again provided what it had and all of what it had. Apparently, because it was less than Plaintiff

28
                                                          5
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 1

 2
     expected, Plaintiff seeks a contempt order.

 3           Plaintiff contends that Four Star's lack of documentation is a civil or criminal infraction.

     That being the case, the legal ramifications of Four Star's comments must be given weight in this

     process. Four Star admits that it no longer has in its possession documents relating to a
 6
     substantial deal that has been troublesome. Such statements against interest are substantially
 7
     more believable - for that very reason.

 g           Plaintiff, on the other hand, offers only that it doesn't make sense that Four Star does not

10   have these documents. While it may not. Four Star has made clear that it has searched its records
11
     and those of its affiliates and subsidiaries and no documents exist.
12
             Animation CeJ-Ar
13
             To date. Four Star has produced appraisals, lists of the cels owned, and a summary of
14

15   how the art came to be in its possession. Plaintiff wants more.

16          Four Star has stated, under oath, that no more that that which has been produced exists.
17   Plaintiff still wants more. The evidence before this Court is that there is no more. As before,
18
     Plaintiff has, simply, guessed wrong. Plaintiff has offered nothing to even suggest there is a
19
     basis to even question the veracity of Ms. Pierson's Declaration. There being not a scintilla of
20
21   evidence to the contrary, Plaintiff's request for Civil Contempt must be denied.

22          Four Star has produced evidence showing that that the remaining material sought
            does not exist or is not is its possession
23

24          Declarations under oath by several persons in positions of responsibility regarding these

25   documents make clear that they do not exist except to the extent already produced. While

26   Plaintiff may wish they did and while Four Star's corporate life would clearly be easier if they
27
     did, the evidence is that they do not.
28
                                                       6
      Case 5:09-cv-03303-JF         Document 12-2         Filed 08/28/09        Page 72 of 82

 1

 2
              There is no prethcate for contempt

 3            In stark contrast, Plaintiff has made no demonstration, not even a single instance, where it

       has discovered even a partial document that suggests that Four Star is misrepresenting the facts.

       There is no smoking gun, no smoke and no gun. This Motion and Plaintiff's moving papers are
 6
      based solely and improperly on credulity. That is not enough to justify contempt.
 7
              The predicate for Plaintiff's motion is that there should be more documents. The issue

 g     before this court, the predicate for the civil contempt action, is not whether the documents should

10     exist, but whether they DO exist. All the evidence before this Court, and such evidence remains
11
       uncontroverted, is that neither Four Star nor its affiliates or subsidiaries have any additional
12
       documents within the an-bit of this motion or OSC.
13
       LEGAl ARGUMENT
14

is            Civil Contempt can be appropriate in situations where a party has violated a court order.

16     (Fed. R. Civ. Proc. 37(b)(2)(D).) First, however, there must be clear and convincing evidence of
17                                                                     (9th
       misconduct. (Falstaff Brewing Corp. v. Miller Brewing Co.,             Cir. 1983) 702 F.2d 770, 776
18                                                                                                   (9th
       n. 1.) There must be a knowing violation of a court order. (Sekaquaptewa v. MacDonald                Cir.
19
       1976) 544 F.2d 396. 406.)
20

2].           Civil contempt is characterized by the court's desire to compel obedience to a court order.

22     (Skiilitani i United States, 384 U.S. 364, 370.) Its purpose can be to compel compliance or
23     compensate the contemnor's adversary for the injuries that result from the noncompliance, or
24
       both. (Gompers v. Bucks Stove & Range Co., 221 U.S. 418, 448-449.) A civil contempt sanction
25
       is designed to force the contemnor to comply with an order of the court, and thus to affect
26
27     discovery conduct. (Cunningham v. Hamilton County, Ohio (1999) 527 U.S. 198, 207.)

28
                                                          7
     Case 5:09-cv-03303-JF        Document 12-2           Filed 08/28/09    Page 73 of 82

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 2
            The obvious predicate for any contempt order, then, is non-compliance with a court order.

 3    (See, Fed. R. Civ. Proc. 37(b)(2); United States v. Kahaluu Consi. Co. (9th Cir. 1988) 857 F.2d

     600, 602.) That fundamental predicate is missing in this instance. While it is clear that there are

     categories of documents that were sought and not produced, there is not one stitch of information
 6
     to suggest that the documents not produced were in the possession or control of Four Star or its
 7
     subsidiaries or affiliates. Plaintiff has argued that Four Star should have the sought after
 B

     documents and therefore should have produced them. Four Star has offered evidence (sworn

10   testimony) that it does not have access to the documents sought. However unlikely or incredible

     that fact may be to Plaintiff, Plaintiff has been unable to produce a single piece of evidence to the
12
     contrary.
13
            Plaintiff does not have the documents it wants, not because it is willfully disobeying the
14

15   Court's Order, but because Four Star simply does not have the documents to give.

16   CONCLUSION
17
            For all the foregoing reasons, PlaintilTs Motion must be denied and no sanctions or other
18
     contempt order issued.
19
20

21

22   Dated: June 10, 2003                                    By:
                                                            Miles Archer Woodlief
23                                                          Attorney at Law
                                                            775 East Blithedale Ave,,#514
24                                                          Mill Valley, CA 94941
                                                            phone: (415) 730-3032
25
26
27
28
                                                      8
     Case 5:09-cv-03303-JF         Document 12-2        Filed 08/28/09      Page 74 of 82

 1

 2

                                            PROOF OF SERVICE
 3

                     1, Miles Archer Woodlief, certify and declare as follows:
 4

                     1 am over the age of 18 years, and not a party to this action. I maintain an office at
      775 East I3lithedale Avenue, Suite 514, Mill Valley, CA 94941, which is located in the county
      where the mailing described below took place.
 6
                     I am readily familiar with the business practice at my place of business for
      collection and processing of correspondence for mailing with the United States Postal Service.
      Correspondence so collected and processed is deposited with the United States Postal Service
 8    that same day in the ordinary course of business.
                    On June 10, 2003, my place of business at Mill Valley, California, a copy of the
      forgoing was sent via first class mail, with postage charges fully prepaid, addressed to:
10
      Duane M. Geck, Esq.
      Severson & Werson
                              25th
12    One Embarcadero Center,      Floor
      San Francisco, CA 94 I
13
      and that envelope was placed for collection and delivery on that date following ordinary business
      practices.
15
                      1 certify and declare under penalty of perjury under the laws of the State of
16    California that the foregoing is true and correct. Executed on June 10, 2003.

17

18

19
20                                          Miles Archer Woodlief
21

22

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                                                       9
Case 5:09-cv-03303-JF   Document 12-2   Filed 08/28/09   Page 75 of 82
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      DUANE M. GE.CK (State Bar No. 114823)
      DONALD H. CRAM (State Bar No. 64OQ1)
 2    DAVID E. PiNCH (State HarNo 124851)
      SEVERSON & WERSON
 3    A Professional Corporation
      One Embarcadero Center, Suite 2600
 4    San Francisco, CA 941 11
      Telephone: (415) 398-3344
 5    Facsimile: (415)956-0439
 6    Attorneys for Plaintiff
      RESERVOIR CAPITAL CORPORATION
 7

 8                                    UNITED STATES DISTRICT COURT
 9                                   NORTHERN DISTRICT OF CALIFORNIA
10                                       SAN FRANCISCO DIVISiON
I]    RESERVOIR CAPITAL CORPORATION, A )                    No. FJO2-002 MJJ (JCS)
      Mary1and.Corporation.
12                                                           00CV-3 626
                        Plaintiff,
13                                                           f- ORDER CHARGING
                                                             JUDGMENT DEBTOR'S INTEREST IN
14                                                           LIMITED LIABILITY COMPANIES
      FOUR STAR FINANCIAL SERVICES, LLC.                     AND FOR ORDER FOR SALE OF ITS
J5    a California Limited Liability Company,                INTEREST IN THOSE LIMITED
                                                             LIABILITY COMPANIES
16                      Defendant.                           {CALIFORNIA CORPORATION CODE
                                                             §17302)
17
                                                        )
18

19

20            The motion of Reservoir Capital Corporation ("Reservoir") for a charging order to charge
21    the membership interest of Four Star Financial Services, L.L.C. ("Four Star") in its wholly owned
22    subsidiaries, FSF, LLC and Community Benefit Alliance, L.L.C. was              iii shortened time
23    before the Honorable Magisfrate Judge Joseph C. Spero, located at 450 Golden Gate Avenue,
24    Courtroom A, 1 5th Floor, San Francisco, California on April 25, 2003, at 9:30 am. The court set

25    a briefing schedule requiring Four Star to file opposition, if it had any, by close of business on
26    April 10, 2003. The court finds that no opposition has been filed. Having reviewed the
27    declaration of Duane M. Geck, the memorandum of points and authorities, and all other moving
28
         11073/0001/427809.l                                          ORDER CHARGING JUDGMENT DEBTOR'S
                                                                    INTEREST IN LIMITED LIABiLITY COMPANY
     Case 5:09-cv-03303-JF         Document 12-2         Filed 08/28/09      Page 77 of 82

 I   papers, the court finds Good Cause to waive presentation of oral argument aild grants the motion

2    as follows:

3

4            IT IS HERBY ORDERED that the Court charges Four Star's interest in FSF, LLC, a

     limited liability company ("FSF"), and COMMUNITY BENEFiT ALLIANCE, LLC, a limited

 6   liability company ("CBA"), each having its principal places of business at 255 Shoreline Drive,

 7   Redwood City, California 94065 with payment of the unsatisfied portion of the judgment entered

 8   against Four Star Financial Services, LLC, the sole member of FSF and of CBA. The Judgment is

 9   the judgment issued by the United States District Court of the District of Maryland entered on

10   October 1 8, 2001, and which Plaintiff registered in this court on January 11, 2002, and which this

11   Court modified pursuant to a written agreement of the parties on July 20, 2002 (the "Judgment").

12           IT IS FURTHER ORDERED that the Court charges Four Star's interest in FSF and CBA

13   with payment of interest on the unsatisfied portion of the Judgment at the stipulated rate of 15%

14   from June 24, 2002, (as set forth in the Judgment),until the date that the Judgment is paid in full.

is           iT iS FURTHER ORDERED that the Court charges, instructs, and orders FSF and CBA

16   pay to Reservoir all profits, income and other distributions owed to Four Star Financial Services,

17   LLC, that are past due and unpaid or shall become due after this order is issued to Reservoir until

18   such time as the balance of the Judgment, together with interest is paid in full.

19           IT IS FURTHER ORDERED that Four Star shall surrender its original membership shares

20   or other record of ownership in FSF and CBA to the United States Marshall pursuant to a writ of

21   execution and this charging order.

22           IT IS FURTHER ORDERED that pursuant to California Corporation Code § 17302,

23   Reservoir is authorized to hold a foreclosure sale of Four Star Financial Services, LLC's interest

24   in FSF and CBA pursuant the charging order imposed as requested above. The foreclosure sale

25   is to be conducted in accordance with California Code of Civil Procedure § §701.510 ci seq.

26   governing the sale of personal property as an enforcement of judgment.

27            IT IS FURTHER ORDERED the United States Marshall shall notice and sell Four Star's

28
         1107310001/4278091                       -2-                ORDER CHARG[NG JUD(MENT DEBTORS
                                                                   INTEREST ll LiMITED LIABILITY COMPANY
     Case 5:09-cv-03303-JF         Document 12-2        Filed 08/28/09     Page 78 of 82

i    membership interest in FSF and CBA pursuant to Corporation Code §17302 and Code of Civil

2    Procedure §701.530 and §701 .545 through 701.830, inclusive, and as incorporated by Federal

3    Rule of Civil Procedure 64. Reservoir shall apply the proceeds from that sale first to accrued

4    interest and costs of sale and then to the balance of its unsatisfied Judgment. Reservoir may

5    submit a credit bid up to and including the amount of the balance owed on its unsatisfied

6    judgment.

7
                 till-',
 8   DATED:       'J
 9

10                                                 The Honor         SEPH C. SPERO

11                                                            Judge of the United States District Court
                                                          rn District of California
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         11013/000114278091                      -3 -               ORDER CHARGING JUI)GMENT DEBTORS
                                                                  INTEREST IN LiMITED LIABILITY COMPANY
        Case 5:09-cv-03303-JF         Document 12-2         Filed 08/28/09     Page 79 of 82

    I                                      CERTIFICATE OF SERVICE

2              1, the undersigned, declare that I am over the age of 18 and am not a party to this action. I
        am employed in the City and County of San Francisco, California; my business address is
    3   Severson & Werson, One Embarcadero Center, Suite 2500, San Francisco, CA 941 1.

4               On the date below I served a copy, with all exhibits, of the following document(s):
              IPROPOSED] ORDER CHARGiNG JUDGMENT DEBTOR'S INTEREST IN
           LIMITED LIABILITY COMPANIES AND FOR ORDER FOR SALE OF ITS
    6      INTEREST IN THOSE LIMITED LIABILITY COMPANIES
    7   on all interested parties in said case addressed as follows:

    8   Mites Archer Woodlief, Esq.                 FAX: (415) 449-3569
        775 E. Blithedale Avenue
    9   #514
        Mill Valley CA 94941
10
        Phone: (4115) 730-3032
11

12
        [XXI (BY MAIL) I caused an envelope to be deposited in the mail at San Francisco, California,
13      with postage thereon fully prepaid.
14
                1 am readily familiar with the finn's practice of collecting and processing correspondence
I       for mailing. On the same day that correspondence is placed for collection and mailing, it is
        deposited in the ordinary course of business with the United States Postal Service in San
16      Francisco, California in sealed envelopes with postage fully prepaid.
17
        [](BY FEDERAL EXPRESS
18
               By depositing copies of the above documents in a box or other facility regu]arly
19      maintained by Federal Express with delivery fees paid or provided for; or
20
        [1 (BY FAX) By use of facsimile machine telephone number 415/956-0439, 1 caused a true copy
21      to be transmitted to the addressee(s) listed above at the facsimile number(s) noted after the party's
        address.
22
               The facsimile machine I used complied with California Rules of Court, rule 2003 and no
23      error was reported by the machine.
24             I declare under penalty of perjury under the laws of the United States of America that the
        foregoing is true and correct. This declaration is executed in San Francisco, California, on April
25      15, 2003.
26

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28


            II 073/000!/3646691
           Case 5:09-cv-03303-JF     FILE COPY
                                    Document 12-2
                                            Filed 08/28/09  ft   Page 80 of 82
                                                                                 horn
                          United States District Court
                                    for the
                         Northern District of California
                                April 22, 2003

                     *   * CERTIFICATE OF SERVICE *    *




                                            Case Number:3:02-fj-00002


   Reservoir Capital
      vs

   Four Star Financial


I, the undersigned, hereby certify that I am an employee in the Office of
the Clerk, U.S. District Court, Northern District of California.

That on April 22, 2003, I SERVED a true and correct copy(ies) of
the attached, by placing said copy(ies) in a postage paid envelope
addressed to the person(s) hereinafter listed, by depositing said
envelope in the U.S. Mail, or by placing said copy(ies) into an inter-office
delivery receptacle located in the Clerk's office.

        Duane Geck, Esq.
        Severson & Werson
        One Embarcadero Ctr
        25th Fir
        San Francisco, CA 94111
       Irving E. Walker, Esq.
       Saul Ewing LLP
       100 South Charles Street
       Baltimore, MD 21201
       Miles Archer Woodlief, Esq.
       775 E. Blithedale Avenue
        #514
       Mill Valley, CA      94941




                                                      Richard W. Wieking, Clerk

                                                      BY:
Case 5:09-cv-03303-JF              Document 12-2        Filed 08/28/09   Page 81 of 82



     Miles Archer Woodlief(No. 124467)
 1   Attorney at Law
     775 East Blithedale Avenue, #514
 7   Mill Valley, CA 94941
     phone: (415) 730-3032
 3   facsimile: (415) 449-3569
 4   Attorney for Defendant Four Star
     Financial Service, LLC
                               UNITED STATES DISTRICT COURT FOR THE
 6                               NORTHERN DISTRICT OF CALiFORNIA
                                        (San Francisco Division)
 7

 8

 9
                                                          )     Case No: FJO2-0002 (MJJ) (JCS)
10   RESERVOIR CAPITAL CORPORATION,                       )
                                                          )     DECLARATION OF JACK GARRETT
11                                                        )     REGARDING "ANSON-GARRETT-COH
                      Plaintiff,                          )     LOAN"
12                                                        )
                                                          )
13   FOUR STAR FINANCIAL SERVICES,                        )
     LLC, a California limited liability company,         )
14
                                                          )
                      Defendant.                          )
15                                                        )

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18
             I, Jack Garrett, state as follows:
19

             I        I am President for Defendant Four Star Financial Services, LLC, ('Four Star"). If
21
     I were called on as a witness, I could and would testify to the following facts:
22
             2        To the best of my knowledge, there are no loan documents reflecting the loan froni
23
     Four Star to Ron Anson, Jack Garrett and Mark Cohn (the loan commonly referred to as the

25   "Anson-Garrett-Cohn" loan except the General Ledger entry Certainly no such documents could

26   be located after a diligent search for the same.
27           1 declare under penalty of perjury under the laws of the State of California that the
28   Declaration of Jack Garrett re: AnsonGarrett-Cohn Loan
Case 5:09-cv-03303-JF            Document 12-2           Filed 08/28/09   Page 82 of 82




     foregoing is true and correct to the best of my knowledge and belief. Executed at Redwood City,

 2   California this lt day of April, 2001
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2g   Dcclaration of Jack Garrett re: Anson-Garrett-Cohn Loan
